              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ILLINOIS
                        EASTERN DIVISION




UNITED STATES OF AMERICA

     v.
                                  Case No. 19-cr-00669
GREGG SMITH and
                                  Hon. Edmond E. Chang
MICHAEL NOWAK,

              Defendants.




     SENTENCING MEMORANDUM ON BEHALF OF MICHAEL NOWAK



                             April 10, 2023


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       We respectfully submit this memorandum and the accompanying exhibits on behalf of

Michael Nowak with respect to his sentencing. For the reasons discussed below, we respectfully

request that the Court impose a noncustodial sentence.

                              I. PRELIMINARY STATEMENT

       Ever since the government announced this case as a RICO prosecution, it has tried mightily

to paint Mike as a greedy and calculating Wall Street villain, a racketeer no less. The government

doubles down on this theme in its sentencing memorandum, going so far as to cast Mike as lording

over the world’s gold market while secretly undermining the economy by spoofing. Even

accepting the jury’s verdict, none of that is even close to true. The government’s assertion that

Mike is responsible for $55 million of losses in pursuit of enormous personal gain as the leader of

a conspiracy hinges on its grossly distorted—and at points misleading—rendition of the trial record

and its refusal to accept the conspiracy acquittals. Respectfully, we urge the Court to reject the

government’s unfounded characterizations of Mike and his conduct, which are no more than a

troubling attempt to incarcerate Mike for far longer than could conceivably be warranted by any

just weighing of the facts.

       This is not a typical white-collar case. Far from it. There is no evidence that Mike gained

anything personally, and the government never once challenged the indisputable truth that any

theoretical profit to JPMorgan from Mike’s trades was immaterial to his options portfolio

(averaging more than $30 million per year, see DX 2900). And there is no reliable evidence that

any market participant sustained any loss whatsoever as a result of Mike’s trading. Nor can any

(unproven) losses caused by others be attributed to Mike, as he was rightly acquitted on both

conspiracy counts, an unsurprising result given the absence of evidence of him agreeing to

commit—or so much as discussing—any joint scheme to defraud, manipulate, or spoof.



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       The fundamental truth about Mike is that he is an exceptionally good and decent man,

down to his core. The accompanying letters to the Court from family, close friends and former

colleagues tell the real story of Mike and reveal the tragedy of this case: that a man known for his

integrity, for hard work, for dedication to his loved ones and community, for his humility and

down-to-earth manner, for proactively giving up potential profit opportunities to do the right thing,

for asking whether the bank’s internal guidance was sufficiently conservative—that such a man

faces sentencing on a conviction driven by two confessed spoofers and a professor who say they

know what was in his mind when he clicked a mouse ten years ago.

       Mike’s life as he knew it is over, and he has paid a heavy price. He has lost his livelihood.

A CFTC enforcement action, stayed by this case, still looms. His good name and reputation have

been destroyed. His wife and teenage children—who had to witness his arrest in 2019, by a group

of federal agents in raid jackets who barged to the second floor of his home at six a.m., after the

government declined our prior offers to self-surrender—have endured enormous strain from that

day forward.

       The Presentence Investigation Report, ECF No. 844 (“PSR”) recommends a sentence of

30 months’ imprisonment based on an unsupported loss calculation and inapplicable Guidelines

enhancements for number of victims, special skill, and obstruction of justice. The even more

disproportionate 60-month sentence sought by the government is based on a separate, more grossly

inflated loss amount and additional inappropriate enhancements for sophisticated means and role

in the offense—all of which the PSR rejects. Indeed, on this record, the fact that the government

can even suggest that the Guidelines call for a sentence of at least 21½ years’ imprisonment, and

that a sentence of five years is appropriate, should, respectfully, offend any sense of justice.




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       For the reasons discussed below, we urge the Court to impose a noncustodial sentence,

whether by application of the Guidelines or by variance from the final offense level. The

government has failed to establish an evidentiary basis for losses or for any of the other Guidelines

enhancements it seeks, which means the Court would be justified in concluding that the final

Guidelines offense level is seven (the base level). If the Court were to conclude that Mike caused

losses, the figure would range from $59,927 to $70,452, which would result in a final Guidelines

offense level of 13.

       As reflected in the Sentencing Commission’s recent amendment to the Guidelines that

encourages noncustodial sentences for first-time offenders, a noncustodial sentence would balance

the seriousness of the jury’s verdict with Mike’s admirable character and commitment to the

betterment of his community, and thus would satisfy the 18 U.S.C. § 3553(a) requirement of a

sentence that is sufficient but not greater than necessary to provide just punishment, afford

adequate deterrence, and protect the public.

                              II. MIKE’S PERSONAL HISTORY

       Mike is a humble, kind, and honest person for whom breaking (or even bending) rules is

completely out of character. The dozens of accompanying letters written by those close to him tell

the story of a man whose life has been defined, above all else, by steadfast devotion to his friends

and family—particularly to Heather, his wife of 21 years, and their three teenage children. Through

all the success he achieved in his career, Mike maintained the values of fairness, hard work, and

thoughtfulness that he has held since childhood. And that is still who he is today. Despite the stress

and uncertainty that he has weathered over the last four and a half years, Mike has remained the

same caring friend and committed husband and father he has always been. Rather than succumb

to frustration or self-pity, he has spent the time since his arrest bettering himself and his



                                                  3
community—for example, by earning a master’s degree in applied economics from Johns Hopkins

University, and volunteering with a local tutoring program for children in need. To those who

know Mike, this is no surprise. As their letters attest, he is a profoundly good person and an

indispensable asset to his family, friends, and community.

A. Childhood and Education

       Mike was born in 1974 in Niskayuna, a small town in upstate New York. In his early

childhood, his family moved to nearby Altamont, a village of fewer than 2,000 people, where his

parents, Tom and Mary Beth, still live today. He is the eldest of three siblings: two years older

than his sister, Amy, and eight years older than his brother, Chris. Their father immigrated to the

United States from Poland as an infant after his family was displaced during the Second World

War. Throughout Mike’s childhood, Tom worked in the technology department of a local

supermarket company. Mike’s mother, Mary Beth, was a homemaker until Mike was in high

school, when she earned her nursing degree and began working as a school nurse in a residential

home for at-risk teenage boys.

       Mike’s childhood was modest financially but rich with love, support, and morals. His

brother writes that “the biggest things instilled in us growing up were honesty, and always thinking

of others.” Exhibit A to Declaration of David Meister (“Ex. A”) at 29 (Letter of Chris Nowak).

Mike’s father, having seen his own parents work hard to build their new life in the United States,

writes, “I tried to instill the importance of education, fairness, integrity and hard work in my

children because these were traits that I had been exposed to and saw were essential in building a

good life. Michael certainly took these things to heart.” Ex. A at 23–24 (Letter of Tom Nowak).

These values became the bedrock of Mike’s personality. Mike often credits his father’s

background with giving him “his work ethic and devotion to his schooling and family.” Ex. A at

26 (Letter of Amy Nowak). As his wife, Heather, writes, “[i]t’s not that Mike remembers where


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he came from—it’s that Mike is still where he came from. His heart and mind haven’t changed. . . .

He came from people who work hard and treat people well—and that is still who he strives to be.”

Ex. A at 2 (Letter of Heather Nowak).

       From an early age, Mike demonstrated his commitment to hard work and integrity. As a

child, he helped his father on home-improvement projects, eager to learn; and in high school, he

worked in the accounting department of the supermarket company where his father worked. Ex. A

at 24 (Letter of Tom Nowak). Even as a teenager, Mike was honest to a fault—someone who takes

the “harder right” rather than the “easier wrong.” Ex. A at 32 (Letter of Greg Fairbank). One close

friend recalls that Mike once sent himself to the high school principal’s office when he felt he had

disrupted a class. Id. Another friend and retired New York State Police Investigator describes how,

during a high school road trip, Mike risked the ire of his friends by refusing to let more people in

his car than his mother permitted: he “refused to break the rules, even when no one was watching.”

Ex. A at 40 (Letter of Keith Ryan). His former guidance counselor writes that “[i]n my 30+ years

in secondary education and in my 48 years as a parent, I can honestly say that Mike Nowak stands

apart as one of the most ethical, loyal, honest, fair, and reliable individuals with whom I’ve worked

and have known.” Ex. A at 44 (Letter of Ann Fairbank).

       Self-motivated and intelligent, Mike thrived in school. Friends remember him as a “driven

student and athlete who wanted to excel but wouldn’t cut corners to get there.” Ex. A at 40 (Letter

of Keith Ryan). He ultimately graduated high school as salutatorian and attended college at Duke

University. In 1996, Mike graduated from Duke, 11th in his class, with a degree in mechanical

engineering and a minor in economics.

B. Career

       Mike joined JPMorgan straight out of college and remained there until he was let go in

2019 following his indictment in this case. He joined the bank as a junior trader on the natural gas


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desk. He soon transitioned to the precious-metals desk, where he stayed for the rest of his tenure.

For most of his career, Mike was the New York desk’s gold options trader. In that capacity, he

bought and sold gold options and managed the constantly changing risk associated with a portfolio

of thousands of different options contracts. Unlike a spot trader, Mike did not trade futures

contracts to fill customer orders or obtain better pricing for spot customers. Rather, he traded

futures to keep his options book appropriately hedged, and, as a hedger, was less sensitive to

futures prices as compared to traders who speculate on spot.1 The profitability of his options book

depended largely on profits and losses generated from the spread between buying and selling

options, and not from trading futures contracts.

         Managing the gold options book was a complex and difficult role, but, true to form, Mike

worked hard and became successful on the desk. In 2005, after almost ten years at JPMorgan, he

was promoted to head of the precious-metals desk, which was one desk among many within the

bank’s commodities business. Trading gold options remained his primary responsibility, but as

desk head he was also responsible for high-level strategy and managing the desk’s administrative

and personnel functions. Though he oversaw the performance of the desk at a macro level and had

administrative responsibilities for roughly 10–12 people, he was not responsible for (nor would he

have been capable of) monitoring the real-time trading of the other traders on the desk. In this role,

he steered the desk through the delicate task of merging with a handful of Bear Stearns metals

traders following JPMorgan’s acquisition of Bear Stearns in 2008, and through the challenging

period following the financial crisis. He earned a reputation as a caring and respected manager. In




1
    Hedgers are less sensitive to price movement because the more aligned the hedge, the more closely one position’s
    gains offset the other position’s losses.



                                                         6
mid-2014, Mike was promoted again, to head of both precious metals and base metals (e.g., copper

and aluminum). At that point, he stopped trading entirely.

          Following the example of his parents, who stayed with the same employers until they

retired, Mike was a loyal JPMorgan employee for more than 23 years. Unlike many others in

comparable Wall Street roles, Mike never sought higher paychecks or signing bonuses elsewhere,

such as at a hedge fund where he would share in trading profits. Norbert Lou, who has known

Mike since they were summer interns together at the bank, writes,

          It’s extremely rare nowadays for someone to remain loyal to one company over
          decades throughout their entire career. This loyalty is a core part of Mike’s identity.
          If instead Mike were motivated by greed, he could easily have become a coveted
          free agent in the financial industry. Mike is all about loyalty, not money.

Ex. A at 68 (Letter of Norbert Lou).

          The people who worked with Mike describe him as a person of tremendous integrity who

was committed to doing things the right way and working proactively with the bank’s compliance

team. As Norbert Lou puts it, “even when the lines are gray, I trust Mike to always advocate for

doing the right thing.” Ex. A at 69 (Letter of Norbert Lou). Neil Clift, one of Mike’s former bosses,

writes,

          Mike and I worked closely together—he took on responsibility for trading the
          derivatives books (swaps and options) and reported to me. The options books were
          globally run, meaning the book was passed around the globe from London to New
          York and then to Sydney/Singapore before returning to be traded in London. Mike
          was an integral part of this global team. His attention to detail and his commitment
          to ensuring the bank’s policies were followed was exemplary. From my personal
          vantage point, Mike always operated within the rules of our regulator and
          consistently followed the bank’s own guidelines and policies; he was also well
          trusted by our compliance team.

Ex. A at 63 (Letter of Neil Clift). Blythe Masters, a former high-ranking executive at JPMorgan

who was senior to Mike, writes,

          On many occasions I saw [Mike] put the interests of clients and those of the firm
          ahead of his own profit. As a rule he was conservative, calm, proactive, transparent


                                                    7
       and mature. He raised to management issues that he felt could damage the
       reputation of the firm or the business, on occasion taking these to the [investment
       bank] or firmwide risk committees for discussion. On at least two occasions, he
       very specifically sacrificed profit opportunities that would have benefited his books
       and potentially his compensation for these reasons. Those decisions were
       transparently syndicated by Mike and received management support.

Ex. A at 61 (Letter of Blythe Masters). Echoing these sentiments, Mike’s longtime colleague,

Robin Wemyss, writes,

       I have always had a huge amount of trust in Mike - he was one of the few people at
       JP Morgan I was comfortable discussing business challenges with - he was an open
       book and always provided me with honest counsel. I can honestly say I have never
       at any point questioned Mike’s integrity nor his moral compass . . . . When we had
       internal compliance training on market conduct, Mike would always grab me after
       and question if the guidelines were conservative or stringent enough. . . . Another
       example was our end of year people reviews where we ranked all the traders - his
       input was always thoughtful and balanced - he tried to present people in the best
       light possible and was very supportive of junior colleagues. . . . I’m frankly
       flabbergasted that he is in this position at all.

Ex. A at 58 (Letter of Robin Wemyss). Another former colleague recounts that “Mike would go

above and beyond what was required to abide by the rules of the exchange” and was “instrumental

in setting several new [internal] rules and policies.” Ex. A at 65 (Letter of Sonny McNess). This

opinion is not limited to his former JPMorgan colleagues. Stephen Clark, a former precious metals

broker who has known Mike since the early 2000s, writes that of the hundreds of people he

interacted with over a 31-year career, Mike stands apart for his “honesty, integrity and overall

decency.” Ex. A at 66 (Email from Stephen Clark). Mr. Clark explains,

       Most other traders would yell and try to get their broker to do whatever they could
       to execute a trade, honestly or not. Mike was different. . . . In all our years working
       together there would have been thousands of times where he could have asked or
       wanted me to do something against the rules. That never happened. . . . Mike is an
       honest man.




                                                 8
       in the world of finance. Mike’s life goals were never to accrue wealth, exercise
       power, or claim status—and so we never talked about such things over the years
       when we would gather at college reunions or for weekend trips with several other
       close friends. Instead we talked about our families, our partners, music, sports, and
       our expanding list of shared experiences. Which is all to say that Mike is likely the
       most unassuming and humble person one could imagine occupying the position that
       he did in his professional life.

Ex. A at 51 (Letter of Dr. Robert Widell Jr.). A long-time friend and Deputy Commander in the

U.S. Air Force writes,

       Mike was always Mike. He’s the same caring person who befriended me decades
       ago, a small-town guy who never outgrew his roots. Duke didn’t change him, and
       neither did New York or London or the high-pressure world of finance. He is simply
       one of the most fundamentally decent people I know, and he always has been.

Ex. A at 34 (Letter of Matt Doberman). Another friend writes,

       Mike Nowak is a genuine person. Soft-spoken at times, a leader in other contexts,
       he is not someone to misconstrue or spin a situation. Whether we are talking about
       our kids (or years ago, being single and then falling in love with our wives), our
       tennis games, the Giants’ chances for the Super Bowl, or our plans for retirement,
       Mike is not prone to exaggeration or self-serving talk.

Ex. A at 55 (Letter of Jason Parsley). Mike’s friends trust him implicitly: “I . . . consider[] [Mike]

one of my closest friends. When I say this, I don’t mean the kind of friend that stands in your

wedding (which we both did for each other) or that you love ‘hanging out with’ (which I do), but

the kind of friend that you would trust to raise your children if something happened to you.” Ex.

A at 57 (Letter of Tony Alvarez); “[Mike] is one of a small group of people to whom I could reach

out about most anything.” Ex. A at 51 (Letter of Dr. Robert Widell Jr.); “If I ever need someone

to manage my estate on my behalf for my family, Mike is one of the only people in the world who

I would completely trust.” Ex. A at 69 (Letter of Norbert Lou).




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D. Character and Good Works

       As one of his oldest friends, a U.S. Army Colonel, aptly puts it, “Mike is an individual of

unquestionable character, earnestness and honesty.” Ex. A at 32 (Letter of Greg Fairbank). Writing

with the “strongest possible support” of Mike, he goes on to say,

       I know Mike to be one of the most honest, decent and fair individuals I have had
       the honor of knowing in my life. . . . I am extremely sensitive to the company and
       friends I keep in life and how they may reflect and impact on my status and integrity
       as a senior military officer. . . . I have never felt Mike to be anything but an asset in
       my life and I am sure he will be until the end of our days.

Id. “Mike didn’t come from wealth or connections. He got where he was in his life and career

through incredibly hard work and good, positive choices.” Ex. A at 2 (Letter of Heather Nowak).

Many friends and former colleagues have noted that his kind and humble nature makes him a far

cry from the stereotype of a Wall Street banker: “Over the course of a very long career I have

encountered traders who fit the cultural stereotypes for which Wall Street is infamous. Mike,

simply put, was not one of them.” Ex. A at 61 (Letter of Blythe Masters). Another former colleague

was “shocked to say the least” upon learning of the charges against Mike, writing, “[i]n the world

of trading, I am more than aware of certain unsavory characters. Mike is not one of them. He is

honest, incredibly ethical, extraordinarily bright, and has never cut corners to get ahead.” Ex. A at

71 (Letter of Brian Finn). Mike’s brother writes, “I know that someone in his position charged

with these types of crimes would sound like someone who thrives on money or power, thinks only

of themselves and lives a flashy lifestyle going out and partying. This just could not be further

from Mike in reality.” Ex. A at 28 (Letter of Chris Nowak). Comparing him to the typical banker,

Russell Grimaldi writes,

       [O]ur neighborhood had a large contingent of bankers and financiers and I never
       found Mike to fit the phenotype (which, I found to be more extroverted, more
       assertive—more alpha). In the most positive of ways, I found Mike to be very
       different. I found him to have a gentleness about him, a warmth . . . a spirit of



                                                  13
         It is easy to be a good guy when you have everything going for you, but remaining
         kind and level-headed when you are at your most vulnerable is where Mike has
         truly been able to shine. Instead of sinking into despair and denial, Mike decided to
         devote himself even more deeply to his family and to bettering himself.

Ex. A at 42 (Letter of Barry Feno). “Mike has a love of life and learning, a compassion for those

less fortunate, and a desire to help colleagues, friends, and the community around him.” Ex. A at

71 (Letter of Brian Finn). Mike has channeled these interests into his volunteer work with

Succeed2Gether, a nonprofit organization in his town that offers one-on-one tutoring to children

in need. The organization’s Education Director describes Mike as an enthusiastic and exemplary

tutor:

         Michael threw everything he had into coaching a reluctant student with some
         unusual learning difficulties—and succeeded in supporting a floundering boy in
         holding on through Covid-era middle school. The man’s patience seems infinite.
         Michael seems congenial in the most exasperating situations, and brings his strong
         background in finance to the table for a middle-school math student with apparent
         ease.

Ex. A at 72 (Letter of Toni Martin). The mother of this student explains that Mike stands out

among other tutors for his patience, dependability, understanding, and ability to keep her son on

task despite his difficulty focusing. Ex. A at 73 (Letter of Michele Heinrich). After trying a

different tutoring program organized through the student’s school, they decided to stay with Mike

because of the quality of his tutoring. Id.

         In addition to tutoring, Mike enrolled in a master’s program at Johns Hopkins University

and earned a degree in applied economics in 2021. He hopes that he might one day be able to

teach. He and Heather have also started the process of becoming foster parents, which they very

much hope will not be impacted by this case. Ex. A at 3 (Letter of Heather Nowak).

         Mike has a relentless drive to be productive and helpful. If given the opportunity to stay

out of prison, there is no doubt that he would spend the next chapter of his life taking care of his

family and helping his community. As Heather movingly writes, “[t]he world is a worse place with


                                                  16
[Mike] in jail. My children are worse off. I am worse off. The world is a better place with Mike

out in it.” Ex. A at 11 (Letter of Heather Nowak).

                           III. SENTENCING CONSIDERATIONS

       A sentence “must always . . . be ‘sufficient, but not greater than necessary,’” United States

v. Jordan, 991 F.3d 818, 822 (7th Cir. 2021) (citation omitted), to satisfy four goals: “just

punishment, deterrence, the protection of the public, and rehabilitation.” Dean v. United States,

581 U.S. 62, 67 (2017). As Your Honor is aware, a court imposing a sentence must consider the

kinds of sentences available, the nature and circumstances of the offense, the relevant Sentencing

Guidelines, the history and characteristics of the defendant, the need to avoid unwarranted

sentencing disparities, the goals of sentencing, and, where applicable, the need for restitution to

victims. 18 U.S.C. § 3553(a). We respectfully submit that a balancing of these factors should result

in a noncustodial sentence, because any term of imprisonment would be far “greater than

necessary” to punish and rehabilitate Mike, protect the public, and deter spoofing.

       This section of our memorandum is divided into three parts: First, we address the relevant

offense conduct. Second, we address the Sentencing Guidelines, setting forth our objections to

certain of the government’s and Probation Office’s proposed adjustments to the offense level. And

third, we provide bases for a noncustodial sentence.

A. The Offense Conduct

       The offense conduct consists of Mike’s order activity in the specific trading sequences

underlying the counts of conviction, which the government opted to charge repetitively under four

different statutes. The sequences were based on a total of 211 seconds of sporadic futures trading




                                                17
activity over five years, on 14 dates from September 22, 2009, to February 7, 2014.3 Accepting

the verdict means the jury found that Mike, acting alone and not in concert with anyone else, placed

orders in those particular snippets of time with the unconditional intent to cancel before execution.

         The government describes Mike’s offense conduct as far more extensive and egregious,

repeatedly making three assertions born from its distorted view of the evidence: First, that Mike is

criminally responsible for violative futures trading of others on the JPMorgan precious-metals

desk.4 Second, that Mike’s questions to Christian Trunz before Trunz’s JPMorgan compliance

interview, and regarding a potential decision to plead guilty, were integral to Mike’s offense and

warrant a substantial increase in the sentence. And third, that Mike’s one-word answer to a single

question in the CFTC’s unrelated silver investigation amounted to obstruction of justice. And the

government inflames these assertions with unproved rhetoric of Mike’s “power,” even going so

far as to label him “the most powerful figure in the world’s gold market” based on a news article,5

and asserting four times that the case involves purported spoof orders totaling $1.5 trillion in

notional value.6 But as much as the government tries, its mischaracterization of Mike and the

offense are not supported by the evidence, as detailed below.


3
    Mike’s orders during those 211 seconds were specifically alleged in the counts of conviction, for spoofing (Count
    27; 7 U.S.C. §§ 6c(a)(5)(C), 13(a)(2)), attempted price manipulation (Count 4; 7 U.S.C. § 13(a)(2)), wire fraud
    affecting a financial institution (Counts 13–22; 18 U.S.C. § 1343), and commodities fraud (Count 25; 18 U.S.C. §
    1348(1)). See 2d Superseding Indict., ECF No. 448, ¶¶ 31(a)–(o) (variously incorporated by reference in the counts
    of conviction). The broader set of episodes that the government presented at trial but did not separately charge (GX
    451) total less than an hour of trading. Even including all of the sequences in Prof. Venkataraman’s flawed loss
    analysis, the duration of trading is a matter of hours over the course of more than five years.
4
     It should come as no surprise that the government clings to its conspiracy theory because, as discussed below, a
     number of the government’s upward adjustments to the Guidelines offense level depend on a finding that Mike
     engaged in jointly undertaken activity.
5
     As support for this claim, the government points to a post-verdict Bloomberg article with a pro-government
     headline about the government’s “toppling” of Mike. The article is essentially a puff piece that contains
     revelations about the inner workings of the DOJ Fraud Section’s investigation. See Gov’t Sentencing Mem. at 36,
     ECF No. 856 (“Gov’t Mem.”).
6
     As the evidence reflects, notional value bears no direct relevance to price movement or the issues in this case, and
     does not refer to actual gold changing hands. What could be relevant—but is never mentioned in the government’s
                                                                                                                – cont.


                                                           18
                 1.       Mike’s Offense Conduct Does Not Include the Conduct of Others

        Undaunted by the jury’s across-the-board conspiracy acquittals,7 the government argues

that the evidence established that Mike was “part of a single scheme carried out by members of

JPMorgan’s precious metals desk,” Gov’t Sentencing Mem. at 5, ECF No. 856 (“Gov’t Mem.”)

and that Mike’s relevant offense conduct includes trading by Smith, Edmonds, and Trunz, id. at

5–6, repeatedly lumping Mike’s conduct with the others’ in support of the misleading assertion

that they acted as one criminal unit. See, e.g., id. at 1–2; 5–8; 12–16; 21–22; 33–34 (conflating

“defendants”).

        The evidence and the jury’s verdict show otherwise. Mike never agreed with anyone to

spoof, never jointly spoofed with anyone, never “indoctrinated” or “taught” anyone to spoof, and

never spoke with anyone on the JPMorgan desk about spoofing except to instruct them not to do

it. We recognize that the law permits courts to consider acquitted conduct at sentencing (although

changes to this principle are afoot, as discussed below). But even accepting the lower burden of

proof for sentencing, the evidence as to Mike falls far short of a preponderance, and we doubt that

the jury’s decision to acquit was a close one. The Court should—as Probation did—reject the

government’s sweeping contention that Mike’s offense conduct for purposes of sentencing

includes other traders’ conduct and purported losses (which dwarf Mike’s own). See PSR at ¶ 59

(noting “the absence of any specific evidence establishing Mr. Nowak’s involvement in the

spoofing practice of other traders.”).




    memorandum—is that each price tick of movement for a gold futures contract amounts to just ten dollars ($10),
    even though the notional value of the contract is $100,000. Trial Tr. 547:13–548:3 (Scheerer testimony that profit
    associated with selling one gold contract one tick higher will always be just $10).
7
    Mike and his codefendants were acquitted of racketeering conspiracy (Count 1; 18 U.S.C. § 1962(d)) and of §
    371 conspiracy (Count 2; 18 U.S.C. § 371).



                                                         19
        Given the fanfare of the government’s September 2019 public announcement of a

“massive” racketeering conspiracy, the utter lack of support for the conspiracy charges against

Mike was striking, a reality highlighted by the testimony of Edmonds and Trunz. For years, they

sat within feet of Mike on the trading desk. Yet they acknowledged that in all the years that Mike

was trading, they never spoke with him about their spoofing, much less agreed with him to spoof.

As to Mike, Edmonds and Trunz claimed only that they “saw” Mike place orders in the

government’s four-step pattern and somehow divined, from that alone, that he placed orders with

the intent to cancel, just as they did.8

        The only evidence of any conversation with Mike about spoofing in all the years that Mike

was trading came from Edmonds’s recollection that, in 2014, Mike called him and other purported

coconspirators into his office in New York to confront them about whether anyone was spoofing

and, if so, to stop and come forward immediately. See Trial Tr. 1481:5–9 (Q. “And at the meeting

with Mr. Nowak, he asks ‘has anyone been spoofing and if you are, you got to stop’?” A. “You

got to stop and you have to, you know, tell, you know, say you did it, like you have to raise your

hand and say you did it, yes, that’s correct.”). Edmonds’s testimony about that meeting shined a

light on the absence of a conspiracy with Mike. Edmonds confirmed that only alleged conspirators

were present, yet no one mentioned their supposed yearslong scheme to spoof together. And he

said he was “afraid” Mike would have “fired [him] probably immediately” if he had said anything

about the purported conspiracy, in a room full of supposed partners in crime. Trial Tr. 1037:4–8;

1481:13–1484:19; 1485:15–23. This is evidence of the absence of conspiracy, and the jury agreed.


8
    In fact, Trunz originally told the government that he saw Mike spoof only once. Trunz noted that he “had a specific
    memory of seeing Nowak trading like Smith one time. It stuck out to Trunz because Nowak was not a flow
    [meaning spot] trader. This was not a strategy used by options guys, even with Nowak having gamma it did not
    work like that. An options trader would not be looking to adjust for .10 increments nor to move quickly.” FBI
    302 of Christian Trunz interview dated August 19, 2019. By the time of the trial, Trunz changed his story and
    claimed to have seen Mike trade in that manner “weekly.” Trial Tr. 2291:22–2292:1.



                                                         20
       That meeting in Mike’s office happened after JPMorgan compliance personnel approached

Mike in 2014 with concerns that Michel Simonian, a London-based trader on the desk, was

spoofing. Mike reviewed the trade data—which revealed that Simonian had been flashing single

large orders (not scales of smaller orders), far larger than anything he could have had a legitimate

business reason to trade. See GX 177. Mike told the internal investigators he believed Simonian,

his supposed conspirator, was spoofing, id, and Simonian was thereafter fired.

       The jury properly rejected the government’s arguments that it should find a conspiracy

based on Edmonds’ and Trunz’s testimony that they “saw” Mike spoof, and similarities across the

government’s charts, just as they rejected Trunz’s “yes” answer to the government’s leading

question, “[w]as there an agreement and an understanding between you and each of these three

defendants [to spoof].” That answer was undercut not only by the lack of any testimony that Mike

discussed spoofing, but also by Edmonds’s testimony resisting the idea that there was an agreement

or conspiracy to spoof on the desk. See Trial Tr. 1482:22–1483:20; 1780:22–1781:14 (Edmonds’s

testimony to Smith’s counsel, “[conspiracy] was your word, but it wasn’t mine.”).

       The absence of jointly undertaken activity was also underscored by the sheer lack of

communication, coordination, and shared knowledge among alleged conspirators, which was

remarkable in a federal conspiracy case. See PSR ¶ 28 (“the investigation of the defendant’s

conduct did not yield any communications which established that the defendant was directing other

traders to spoof.”). Edmonds said he was not aware that Trunz, his close friend on the desk, was

spoofing, see Trial Tr. 1386:6–13, and Trunz testified that he could not recall whether, at the time,

he was aware of how Edmonds spoofed, see id 2560:18–21. Edmonds and Trunz both testified that

they were unaware that Simonian, their colleague and alleged coconspirator, had been spoofing

until Mike told the desk that he had been fired for spoofing. Id. 1485:8–11; 2561:18–22. The




                                                 21
government itself acknowledged in court that the absence of “coordinated spoofing” is “a

distinguishing factor from the previous [spoofing] cases” brought by the same prosecution team in

this District. Id. 220:19–21.

       Despite this, the government refuses to back away from its original publicly announced

theme of a grand RICO conspiracy, and has gone all in against Mike, straining to find support

where none exists. For example:

           •   The government claims that “defendants” “indoctrinate[d]” and “taught” others on
               the desk to spoof, Gov’t Mem. at 2, 34, which is flatly false for Mike. There is no
               evidence that Mike “taught” anyone to spoof, much less “indoctrinated” them into
               the practice. If these representations are based on the testimony that Edmonds and
               Trunz “saw” Mike spoof, the argument is specious and should be rejected.

           •   The government represents that “the trial evidence showed that the defendants . . .
               discussed and joked about spoofing with others[.]” Gov’t Mem. at 6. But it cites
               only Trunz’s testimony that he joked with others on the Bear Stearns desk (where
               Mike never worked)—before joining JPMorgan—about Gregg Smith’s rapid
               clicking. Trial Tr. 2274:8–2275:25.

           •   The government argues that “the existence of a conspiracy was shown by . . . chats
               about spoofing,” Gov’t Mem. at 7, citing two chats, GX 37 and 62. GX 37,
               however, is a chat between Trunz and Oliver Beane (on the London desk) about
               Mr. Smith and says nothing about Mike. GX 62 is a chat between Mike and his
               London colleague Stu Piller about Mike buying gold futures. Presumably the chat
               was cited because, at the time of the chat, Mike was allegedly placing spoof orders
               to sell. But contrary to the government’s assertion, the chat is not “about spoofing”
               and does not show the existence of a conspiracy. Mike and Piller said nothing in
               the chat about spoofing or even about entering orders on the sell side. And the
               government certainly seems to have withdrawn its claim that Piller was a member
               of the alleged conspiracy. Trial Tr. 3141:11–3142:4 (government withdrew Piller’s
               trading charts from evidence after noting “the defense made the point that we hadn’t
               established [Piller] as a member of the conspiracy”).

           •   The government argues that “the existence of a conspiracy was shown by . . . the
               fact that traders on the desk engaged in spoofing to get better fills and prices for the
               precious metals desk’s lucrative hedge fund clients.” Gov’t Mem. at 7. Even if that
               were true, it does not tie Mike to a conspiracy and in fact undercuts the
               government’s theory. Mike was an options trader who did not have the job to trade
               futures on behalf of hedge fund clients.




                                                 22
           •   The government argues that “the trial evidence showed that the defendants . . . had
               a shared interest in the desk’s profitability and wanted to keep their clients happy
               by spoofing,” citing Trunz’s testimony that the desk was “a for-profit business,”
               the common goal of which was “to make money.” Gov’t Mem. at 6; Trial Tr.
               2282:7–22. The self-evident fact that a trading desk seeks to turn a profit is not
               evidence of a conspiracy (or of Mike belonging to a conspiracy), nor is Trunz’s
               contention that the desk “spoof[ed] to make money,” given that at most Trunz’s
               claim as to Mike is that he “saw” him spoof.

           •   The government asserts that “[t]here also was testimony that traders’ discretionary
               compensation (i.e., annual bonus) was based in part on the success of the desk as a
               whole, such that traders collectively benefitted from better fills and prices resulting
               from each other’s spoofing.” Gov’t Mem. at 7–8. But the government made no
               attempt at trial to prove that purported gains from spoofing affected any trader’s
               compensation, likely because they understood that such gains could not have
               moved the needle on the desk’s overall trading profits. In fact, profitability of the
               precious metals desk increased after the purported spoofing on the desk stopped.
               Trial Tr. 1389:18–21 (Q. “Okay. So when the spoofing stopped on the Precious
               Metals Desk, profits went up. Do you see that? A. [Edmonds:] I see that, yes.”);
               DX 2364. In any event, these speculative assertions are not evidence of a spoofing
               conspiracy or Mike’s membership in one.

           •   The government argues that “the existence of a conspiracy was shown by . . .
               Nowak’s efforts to help Trunz avoid discipline and ‘protect the narrative.’” Gov’t
               Mem. at 7. As explained below, this assertion is based entirely on Trunz’s strained
               and subjective interpretation of two questions Mike posed to him and is
               contradicted by other evidence.

       In fact, the government appeared to acknowledge the deficiencies in its conspiracy theory

when, following the acquittals, it abandoned the racketeering and conspiracy charges in its

prosecution of severed codefendant Christopher Jordan. See United States’ Mot. to Dismiss Counts

One and Two of the 2d Superseding Indict. Against Def. Christopher Jordan, ECF No. 704. While

the government may try to claim that it dismissed its top charges against Jordan merely for the

sake of efficiency, actions speak louder than words. That unusual step—a DOJ dismissal of top

counts before trial—shows that even the government recognizes that there really was no

conspiracy on the JPMorgan precious-metals desk.




                                                 23
         Even if not for the lack of evidence of jointly undertaken, reasonably foreseeable activity,

there is good reason to disregard acquitted conduct at this stage—and we do not make this

argument in a vacuum. Recent developments suggest that the practice of considering acquitted

conduct will soon be barred by the Guidelines. To be sure, while a district court is not currently

prohibited from considering conduct underlying an acquittal at sentencing if it was proven

unlawful by a preponderance of the evidence, United States v. Watts, 519 U.S. 148 (1997), the

Seventh Circuit does not appear to be encouraging the practice. The Circuit recently recognized

the “increasing support among many circuit court judges and Supreme Court Justices, who in

dissenting and concurring opinions, have questioned the fairness and constitutionality of allowing

courts to factor acquitted conduct into sentencing calculations.” United States v. McClinton, 23

F.4th 732, 735 (7th Cir. 2022), petition for cert. docketed, No. 21-1557 (U.S. June 14, 2022)

(collecting cases). And the U.S. Sentencing Commission has formally proposed to amend the

Guidelines to provide that “acquitted conduct shall not be considered relevant conduct for

purposes of determining the guideline range.” U.S. Sentencing Comm’n, “Acquitted Conduct,”

Proposed Amendments to the Sentencing Guidelines (Prelim.), at *1–4 (Jan. 12, 2023), available

at                         www.ussc.gov/sites/default/files/pdf/amendment-process/reader-friendly-

amendments/20230112_prelim_RF.pdf (emphasis added).9 We urge the Court to exercise its

discretion and decline the invitation to consider acquitted conduct when it appears that the practice

may soon, for good reason, be prohibited.




9
     See U.S. Sentencing Comm’n, News Release (April 5, 2023) https://www.ussc.gov/about/news/press-
     releases/april-5-2023 (“In the year to come, the Commissioners will continue to study a number of proposed
     policies, including those regarding how the guidelines treat acquitted conduct.”).



                                                      24
               2.        Mike’s Two Questions to Trunz Are Not a Basis for a Higher Sentence

       Relying solely on the uncorroborated recollection of cooperator Trunz, the government

draws unsupported inferences from two questions Mike posed to Trunz to argue that Mike deserves

additional years in jail. There is no indication in the PSR that Probation adopts the government’s

views in this respect.

                         a. “Coaching” Trunz

       First, the government contends that Mike improperly “coached” Trunz to lie to JPMorgan

Compliance interviewers, citing only Trunz’s interpretation of a single question he says Mike

posed to him in advance of the interview that would focus on Trunz’s trading. See, e.g., Gov’t

Mem. at 25. According to Trunz, Mike “advis[ed] him to be humble and apologetic and ask[ed] . . .

‘everything he had placed was intended to trade, right?’” FBI 302 of August 19, 2019 at 16 (Date

of entry 10/7/2019). At trial, Trunz conceded that Mike’s words were “framed as a question,” Trial

Tr. 2699:7–21, consistent with what he told the FBI when he began cooperating. Id. 2618:24–

2619:12. But by the time of trial, Trunz offered a new interpretation of Mike’s question, claiming

Mike’s words were “not an ask” and he believed Mike was advising him to falsely tell JPMorgan

Compliance he intended to trade all his orders. Id. 2416:1–17.

       The other relevant evidence, however, undercuts Trunz’s interpretation of Mike’s question.

Trunz testified that: (i) Mike cautioned him that Michel Simonian had been fired partly for lying

to Compliance, Trial Tr. 2415:19–22, 2613:7–9, which would be ludicrous for Mike to say if he

were coaching Trunz to lie; and (ii) Trunz should apologize for his trading, id. 2613:2–6, which

would make sense only if Trunz was going to acknowledge to Compliance that he had done

something wrong that warranted an apology. The notion that Mike tried to fabricate a defense for

Trunz also cannot be squared with the uncontroverted evidence that Mike alerted his own boss,

Jeff Katz, as soon as he learned Trunz’s trading been flagged, DX 579, 604, informed JPMorgan


                                               25
HR that Trunz’s trading may have been improper, DX 501, 502, and docked Trunz’s bonus, Trial

Tr. 2614:7–11. None of those facts supports Trunz’s interpretation that Mike’s question was not

in fact a question.

        In sum, even crediting Trunz’s recollection of the words Mike spoke, his subjective

interpretation of Mike’s question is undercut by other evidence and cannot justly form a basis to

grant the government’s request for additional time in jail.

                       b. “Pressuring” Trunz

        Second, and similarly, the government argues for a higher sentence based on Trunz’s

interpretation of a question Mike purportedly posed after they both had learned of the

government’s investigation and were represented by counsel, but before either had been charged.

In his interviews with the FBI and at trial, Trunz said that he and Mike spoke often about the

investigation in this period, during Mike’s regular trips to the London office. Although apparently

never mentioned during the course of his pretrial interviews, Trunz said for the first time at trial

that Mike asked him, “We’ve done a ton of work, you’re not going to turn around and plea now,

are you?” Trial Tr. 2436:19–21, which Trunz said he interpreted as Mike trying to protect him and

keep him from doing “exactly what [he] did and tell the truth,” id. 2437:18–24. Based solely on

Trunz’s interpretation, the government repeatedly contends that Mike’s question was a form of

“pressure” on Trunz not to plead guilty and cooperate with the government (although Trunz did

not testify that Mike mentioned cooperation).

        Here again, the other evidence undercuts the government’s post-hoc sinister spin. Trunz

testified that Mike was lending support when they discussed the government’s investigation, which

he appreciated, id. 2625:18–25, and perhaps most importantly, that at the time of that discussion,

Trunz had denied to Mike that he had done anything wrong, id. 2625:15–17, which reasonably

would have prompted the question Mike supposedly asked: Then why plead guilty? If Trunz’s


                                                26
testimony about the words he and Mike exchanged is true, the government’s argument is nothing

more than a claim that it is somehow improper to discourage a friend from pleading guilty to a

crime he says he did not commit.10 The government’s attempt to twist Trunz’s testimony into a

baseless accusation of improper pressure to justify a higher prison sentence is offensive, and,

respectfully, we urge the Court to reject it.

                    3.       Mike’s Single Answer to the CFTC Is Not a Basis for a Longer
                             Sentence

          Mike testified more than a decade ago in a sprawling CFTC investigation into complaints

of suspected long-term suppression of silver prices—an inquiry the CFTC closed without bringing

any charges, after conducting a thorough investigation that was unrelated to the current matter.11

At the very end of his two-day CFTC testimony, Mike responded “no” to a tangential question

about his knowledge of what appears to be “flashing large orders” on the desk. The indictment

charged Mike’s single answer as an act in furtherance of the racketeering conspiracy, which the

jury rejected.

          Nevertheless, the PSR suggests, and the government presses, that Mike’s answer

constituted a willful obstruction of justice “with respect to the investigation, prosecution, or

sentencing of the instant offense of conviction,” U.S.S.G. § 3C1.1. See PSR ¶ 73. There is no basis

for an obstruction enhancement, both because Mike’s response was truthful and because the

substance of his answer did not overlap with the offense of conviction.


10
      As counsel informed the Court, Trunz also told the government pretrial that in discussing the investigation, Mike
      mentioned the acquittal of Andre Flotron, a trader who had been indicted for spoofing conspiracy by the same
      prosecutor who at the time was investigating Mike and Trunz, which suggests a perfectly appropriate discussion
      of how people can be vindicated at trial. Trial Tr. 2117:25–2118:15.
11
     There has never been any suggestion that Mike was the focus of the CFTC’s investigation; rather, it appears the
     CFTC took his testimony because he was the head of JPMorgan’s precious-metals desk, and JPMorgan had a
     substantial presence in the silver market. Indeed, we moved for a new trial on the basis that the prosecutor told the
     jury in summation that Mike was “under investigation” in the CFTC matter, which was not true. See ECF No. 711
     at 31 (citing Trial Tr. 3942:17–22).



                                                            27
       First, Mike did not lie. The question at issue came right after the CFTC lawyer asked him

a series of questions about market participants “flashing large orders.” See GX 370, at 440:2–5 (Q.

“Have you ever noticed any flash orders on GLOBEX, and what I mean by that is a large order or

offer or bid that’s on GLOBEX and gets pulled pretty quickly?”); 442:3–6 (Q. “Have you heard

talk about any particular market participants sort of flashing large orders like that as a signal to

other traders?”). Without any hint of transitioning from “flashing,” the lawyer then asked him,

“[t]o your knowledge, have traders at J.P. Morgan in the metals group put up bids or offers to the

market which they didn’t intend to execute and then pulled them before they got hit or lifted,” and

Mike answered, “[n]o.” GX 370, at 442:8–13. There was no follow-up.

       The evidence established that there are two distinct forms of spoofing: “flashing” large

orders one at a time (which Mike is not alleged to have done), and “layering” multiple smaller

orders (the instant offense conduct). Contrary to the assertion that Mike’s response constituted

denial of knowledge of behavior that he himself has been convicted of engaging in, PSR ¶ 73,

Mike’s response to the CFTC lawyer’s question was truthful. Mike never flashed orders himself,

so the only way his testimony could be deemed untruthful would be if there was evidence that

Mike was aware in August 2010 of someone else flashing orders on the desk. But particularly

given the absence of proof of conspiracy as discussed above, there is no evidence that Mike knew

of anyone on the desk flashing orders until four years later, in 2014, when Simonian was

investigated and ultimately fired for it.

       On this record, the Court should decline the government’s request to include in the offense

conduct Mike’s CFTC testimony and to use it to justify a longer sentence.

B. The Sentencing Guidelines

       As the Court is aware, the Sentencing Guidelines are only “advisory and cannot mandate a

strict decision-making sequence” in determining a defendant’s sentence. United States v. Pankow,


                                                28
884 F.3d 785, 793 (7th Cir. 2018). In imposing a sentence, “the district court’s obligation is simply

to calculate the guidelines range correctly and arrive at a reasonable sentence after weighing the

sentencing factors in [18 U.S.C.] § 3553(a), varying upward or downward from the guidelines

range in its discretion.” United States v. Brown, 732 F.3d 781, 786 (7th Cir. 2013).

          Holding the government to its burden of proof, the final offense level for Mike should be

the same as the base offense level of seven because (i) the government has not established that

Mike caused any loss (and has not even tried to show that he personally gained), let alone on the

scale that Prof. Venkataraman suggests, and (ii) the other adjustments pressed by the

government—some but not all of which the Probation Office accepted—are not supported by a

preponderance of the evidence.12

          Below are our objections to the government-proposed adjustments for (1) loss, because the

government’s “analysis” improperly saddles Mike with other traders’ conduct notwithstanding the

lack of evidence that he jointly spoofed with others or that others’ conduct was reasonably

foreseeable, and uses a flawed methodology to calculate loss; (2) number of victims, because there

are no proven victims given that there are no proven pecuniary losses; (3) role in the offense,

because, under the law, and as Probation appears to agree, Mike’s job as the supervisor of the

trading desk did not make him an organizer of criminal activity, particularly given the lack of

evidence of conspiracy here; (4) special skill, because trading in the futures market is a skill

possessed by vast numbers of people in the general public; (5) sophisticated means, because, as

Probation appears to agree, the spoofing of which Mike was convicted (whether labeled as



12
     Though we and the government stated in our respective versions of the offense that the 2018 version of the
     Sentencing Guidelines apply, we agree with Probation that the 2021 version (which is identical to 2018 in all
     relevant respects) applies here. We, the government, and Probation agree that the counts of conviction comprise
     one group under U.S.S.G. § 3D1.2; that the base offense level is seven; and that Mike’s criminal history category
     is I (zero points).



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spoofing, fraud, or attempted manipulation) involved the same basic means as any other spoofing

by a manual trader; and (6) obstruction of justice based on the CFTC testimony, for the reasons

discussed above.13

         To the extent that the Court determines that the final offense level is higher than the final

offense level that we propose, we also provide bases for a downward departure under U.S.S.G.

section 2B1.1, cmt. n. 21(C), and/or under section 5K2.0(a)(1).

         1. The Government’s Loss Calculation Is Fatally Flawed

         We object to the government’s proposed 22-level upward adjustment for a purported loss

of $55 million. The enhancement is based only on Prof. Venkataraman’s flawed, assumption-laden

“analysis,” which obligingly (a) attributes other traders’ conduct to Mike, (b) lumps in thousands

of additional trading sequences with very broad parameters that sweep in lawful trading, and (c)

includes purported losses accrued during the entirety of Mike’s alleged spoofing sequences (up to

82.3 seconds). To level-set on just how impactful the flaws in Prof. Venkataraman’s methodology

are, if he merely applied selection criteria that were more consistent with his trial testimony (for

example, the criteria he applied in Bases), Mike’s alleged spoofing sequences would be cut in half.

And, separately, if Prof. Venkataraman only assessed losses accrued while the market might

actually be reacting to Mike’s orders, Mike’s adjusted loss would drop by 60%.




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     We object to the PSR to the extent it recommends any of these adjustments. We also object to the following
     portions of the PSR:
     • Paragraphs 4, 8–9: We object to references to “barrier running” or “barrier defending,” as the government
          dropped all allegations related to barrier options prior to trial. See ECF Nos. 582, 593.
     • Paragraph 40: In describing David Pettey’s testimony about the impact of Mike’s trading, the PSR quotes
          from testimony in which Pettey described Mr. Smith’s trading, not Mike’s. See Trial Tr. 3005:20–3006:7.
     • Paragraphs 18–31, 40–48: We object to the summary of the government’s version of the offense and the
          opinions and characterizations of Agent Marc Troiano included in these paragraphs, because they contain
          numerous inaccuracies and are inconsistent with or unsupported by the evidence presented at trial.
     • Page 35–36: We object to discretionary conditions of supervised release numbered 5, 6, 7, and 14, which
          Probation recommends.



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       Flaws this obvious and significant are fatal to the government’s loss calculation. See United

States v. Beler, 20 F.3d 1428, 1432–34 (7th Cir. 1994) (under U.S.S.G. § 6A3.1(a), information

considered at sentencing must have “sufficient indicia of reliability to support its probable

accuracy,” and “unreliable allegations must not be considered,” so “the sentencing court must

carefully scrutinize the government’s proof to ensure that its estimates are supported by a

preponderance of the evidence”).

       At the outset, we submit that the question of purported loss here is no typical battle of the

experts. A professor he may be—but despite his CV, Prof. Venkataraman has signed his name to

a methodology with fundamental flaws that deviates significantly from the methodologies he has

applied in similar cases, most recently United States v. Bases, No. 18-cr-48 (N.D. Ill.), which ought

to call his credibility into question. Prof. Venkataraman’s new “analysis” does not belong in a

criminal sentencing proceeding, and we urge the Court to reject it.

           a. There Is No Basis to Saddle Mike with Purported Losses from Others’ Spoofing

       The government seeks to lump Mike together with others on the desk and hold him

criminally accountable for their trading, which increases the loss figure that the government

attributes to Mike more than tenfold (as approximately 93% of the government’s total purported

loss figure stems from others’ trading sequences). For the reasons discussed in Section III.A.1

above, the government cannot meet its burden to establish that the spoofing of others constitutes

jointly undertaken activity as to Mike, so the conduct of others is not attributable to him for

purposes of the Guidelines. “In order to be held accountable for the conduct of others, that conduct

must have been both in furtherance of the jointly undertaken criminal activity and reasonably

foreseeable in connection with that criminal activity.” United States v. Soto-Piedra, 525 F.3d 527,

531–32 (7th Cir. 2008) (quoting United States v. Edwards, 115 F.3d 1322, 1327 (7th Cir. 1997);

U.S.S.G. § 1B1.3, cmt. n.3; United States v. Catalfo, 64 F.3d 1070, 1082 (7th Cir. 1995)


                                                 31
(“[D]istrict courts should ‘set[ ] forth the reasons why the particular amount of [loss] was

reasonably foreseeable to [the defendant].’” (alternations in original) (citations omitted)). The

government has not even established Mike’s membership in a conspiracy, much less that he

engaged in any jointly undertaken criminal activity and that the spoofing of others was reasonably

foreseeable to him. “Actions of coconspirators that a particular defendant does not assist or agree

to promote are generally not within the scope of that defendant’s jointly undertaken activity.” Soto-

Piedra, 525 F.3d at 533 (emphasis added). No evidence exists that Mike assisted or promoted the

spoofing of others, so the loss calculation cannot include that conduct.14

               b. There Is No Evidence of Unlawfulness in the Thousands of Additional,
                  Varied Snippets of Mike’s Trading Activity

          The Court should reject the government’s contention that Mike’s offense conduct was vast,

to include thousands of trading sequences and tens of thousands of orders.

          At sentencing, only “unlawful” conduct is relevant to the Guidelines calculation, United

States v. Chube II, 538 F.3d 693, 702 (7th Cir. 2008), and the burden rests with the government to

establish conduct as unlawful, see id. at 705 (government must show that a “particular prescription

was dispensed with no legitimate medical purpose” to establish relevant drug quantity at

sentencing). A court cannot “extrapolate” that, because some of a defendant’s conduct was

unlawful, other similar conduct was also unlawful, United States v. Rosenberg, 585 F.3d 355, 357–

58 (7th Cir. 2009)—but that is precisely what the government seeks to do in saddling Mike with

thousands of varied, unproven sequences, based on little more than Prof. Venkataraman’s say-so.




14
     The amount of alleged losses caused by others is, again, based solely on Prof. Venkataraman’s flawed analysis.
     As a result, even if there were a basis to attribute to Mike losses caused by others (there is not), the government
     has failed to establish the amount of such losses by a preponderance of the evidence, for the reasons discussed
     below. Nor has the government even tried to establish (nor can it) how much such losses caused by others were
     “reasonably foreseeable” to Mike, as required. See U.S.S.G. § 1B1.3, cmt. n.1&3; Catalfo, 64 F.3d at 1082.



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       To be clear, far from contesting the verdict by exposing these failures, we are urging the

Court to hold true to it. We contest the post-trial attempt to inflate the purported loss figure by

casting a net over tens of thousands of Mike’s orders and arguing—without any reference to

characteristics the government argued at trial are key indicators of spoofing—that those orders

were criminal.

                 i.   Prof. Venkataraman’s Selection Criteria Capture Order Activity That
                      Bears No Characteristics of Spoofing

       At trial, Prof. Venkataraman based his opinion that Mike was spoofing on several factors—

significant order imbalance, see Trial Tr. 2747:23–2748:14, market imbalance, id. 2785:7–21,

order duration, id. 2745:16–2746:17, the four-step pattern (though now he claims the first two

steps alone are enough), id. 2718:7–18, low fill ratios, id. 2787:12–23, and quick cancellation, id.

2739:10–14; 2765:6–12, among others—and highlighted those factors in the hundred government-

selected sequences. Yet now, for purposes of sentencing, rather than develop criteria based on

those apparently important factors, Prof. Venkataraman has essentially applied the same broad,

loose criteria that he had used to select activity to analyze for spoofing in the first place, which he

designed to be expansive. Compare Trial Tr. 2976:18–2977:6 (in developing criteria for the

analysis that resulted in GX 499, “I want[ed] the design to be where I can see whether the large

red orders cause a fill or not. . . . So I wanted it to be as open-minded as possible in terms of what

you would find . . . . So my approach, I believe, is conservative . . .”) with Venkataraman Decl. at

7 n.12 (starting point for loss analysis was “Spoofing Sequences summarized in GX 499,”

excluding, with respect to Mike, only sequences with scales of fewer than 30 lots in gold futures

and sequences lasting more than 82.3 seconds); Exhibit B to Declaration of David Meister (“Ex.

B”) (Cusimano Decl.) at ¶¶ 19–27.




                                                  33
        There is no evidence that these extremely broad criteria, designed to select trading snippets

for analysis from among Mike’s and others’ full order activity, are reliable for classifying orders

as spoofs. To the contrary, the activity includes lawful trading, a significant amount of which is

indisputably lawful, such as instances where there was no quick cancellation, or, remarkably, for

some of Prof. Venkataraman’s alleged spoof orders, no cancellation at all, and instances where

there was no market imbalance in the top five levels of the order book following the alleged spoof

order. Trial Tr. 2725:2–7 (Prof. Venkataraman conceding that he merely parsed the data for “very

large visible . . . orders on one side, and on the opposite side . . . a [smaller] order”). His contention

that these are all “spoofing sequences” is squarely contradicted by his own testimony and, at best,

is based only on suspicion and conjecture.

        In his declaration, expert Jeremy Cusimano, former Economic Advisor to the Director of

Enforcement at the CFTC, explains that Prof. Venkataraman’s broad selection criteria capture

lawful trading and scenarios that are plainly incompatible with spoofing. Ex. B (Cusimano Decl.)

at ¶¶ 31–35. For example, in Sequence Nowak_GC_B_427 from July 1, 2010, Mike placed seven

scaled ten-lot orders in the top five price levels of the order book (i.e., the purported spoof orders),

and an opposite order that was at least 110 price levels (ticks) away from the scale (in a market

where, as established at trial, only the top ten ticks are visible on each side). There is no basis in

finance theory or common sense—nor has Prof. Venkataraman provided one—for the inference

that a scale placed this far away from an opposite order was placed to cause the execution of the

opposite order. And this lack of support is unsurprising, as Prof. Venkataraman never

acknowledges or seeks to justify the extreme overbreadth of his approach. What is more, this

opposite order was also placed over 37 minutes before the start of this sequence, making it even




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more incredible that Prof. Venkataraman’s screening criteria linked the two as a purported

spoofing sequence. Ex. B (Cusimano Decl.) at ¶ 33.

                              Figure 1 – Nowak_GC_B_427 Activity




       As     another    example,     Prof.    Venkataraman’s       criteria   identified   Sequence

Nowak_GC_S_861 from December 17, 2010 as a spoofing sequence, even though Mike was

actively trading and using aggressive orders on both sides of the market, and some of Mike’s scaled

orders, identified as spoofs, were aggressive (i.e., executed against resting orders on the other side)

or rested in the market for at least 20 seconds, all of which undercuts any inference of an intent to

cancel. Prof. Venkataraman’s “spoofing sequences” are riddled with examples like these that are

incompatible with spoofing, look nothing like the trial sequences, and thereby reveal the

fundamental unreliability of his selection criteria. Ex. B (Cusimano Decl.) at ¶ 34.




                                                  35
                                     Figure 2 – Nowak_GC_S_861 Activity




          These extremely broad selection criteria not only capture a significant volume of plainly

non-spoofing trading, but also encompass many legitimate, non-spoofing trading strategies.15 As

the government’s own witnesses confirmed, see Trial Tr. 687:21–23, it is impossible to tell

whether a series of scaled orders was placed with impermissible, unconditional intent to cancel

(i.e., “I intend to cancel no matter what”) or with perfectly permissible conditional intent (e.g., “I

intend to cancel if another order of mine is executed,” with the understanding that orders can be

executed in milliseconds). And Mr. Cusimano explained that Mike’s placement of scaled orders

was consistent with standard trading tactics, such as hedging an options book, protecting against a

quick price change or “sweep,” and offering liquidity to algorithms, none of which involves


15
     The government flips this issue on its head, contending that the use of scaled orders is somehow evidence of a
     spoofer’s attempt to avoid detection, Gov’t Mem. at 21–22, without acknowledging that a reason why it is harder
     to determine whether an instance of scaled order activity constitutes spoofing is because scales are commonly used
     for legitimate purposes (and thus evince nothing at all).



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placing orders with the unconditional intent to cancel. Trial Tr. 3562:6–22. In his declaration, Mr.

Cusimano also explains that much of Mike’s trading activity is consistent with a strategy aimed at

maintaining delta neutrality. Ex. B (Cusimano Decl.) at ¶ 29. Several government witnesses

confirmed that a comparatively large set of orders placed on one side of the market, with smaller

orders placed on the other side, can be consistent with legitimate forms of trading. See, e.g., id. at

696:25–697:12 (according to Robert Sniegowski of the CME, a trader may “place[] imbalanced

orders on both sides of the market . . . prefer[ing] one side over the other”).

              ii.   Prof. Venkataraman’s Selection Criteria Are Not Consistent with His
                    Criteria in Prior Cases

       The government has tried to assure the Court that it can rely on Prof. Venkataraman’s

analysis because he “applies parameters that are consistent with the approach applied to identify

the scope of relevant conduct in the Vorley and Bases cases,” which were accepted by the

sentencing judges in those cases. Gov’t Mem. 11–12. The government also urges a longer sentence

for Mike by comparing the loss calculation here with those Prof. Venkataraman calculated in

Vorley and Bases. The government fails to mention, however, that Prof. Venkataraman

inexplicably removed key selection criteria that he used in Vorley and Bases, and that applying the

Bases criteria here would result in only 3,130 of Mike’s 6,063 alleged spoofing sequences being

identified as spoofing. Ex. B (Cusimano Decl.) at ¶ 25.

       In his Bases loss estimate, Prof. Venkataraman defined a “spoof order” as an order “placed

within the top five levels of the order book, canceled within five seconds of placement, and for at

least ten contracts at placement,” and with an aggregate volume of 25 total contracts active at the

same time. Decl. of Kumar Venkataraman at ¶ 15, United States v. Bases, 18-cr-48 (N.D. Ill. Jan.

6, 2023), ECF No. 725-1. He defined opposite orders as iceberg limit orders placed in the top five

levels of the order book. Id. Prof. Venkataraman also excluded from his analysis sequences with



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fully displayed orders placed on the same side of the market within five ticks of the opposite order

and sequences in which the defendants placed spread-crossing orders on the same side of the

market as the alleged spoof orders. Id. These requirements would reduce Mike’s sequences to a

population that, while still overinclusive, at least reflects two of the criteria the government told

the jury were key indicators of spoofing: (i) relatively short duration of alleged spoof orders (Prof.

Venkataraman says Mike’s spoof orders can rest for up to 82.3 seconds, a far cry from the 5-second

maximum he used in Bases), and (ii) the alleged spoof and opposite orders being placed in the top

five levels of the order book (here, Prof. Venkataraman’s loosens the net to allow alleged spoof

and opposite orders to be in the top ten levels of the order book).16 Because Prof. Venkataraman

did not apply these narrower criteria here (for reasons neither he nor the government explains), his

analysis includes many more sequences—and therefore generates a much higher loss amount—

than if he had applied the Bases criteria.

         Even in Vorley, where he applied broader selection criteria than in Bases, Prof.

Venkataraman at least required that alleged spoof and opposite orders be placed in the top five

levels of the order book, twice as high in the order book as the criteria he applies in this case. Decl.

of Kumar Venkataraman at ¶ 13, Vorley, 18-cr-35 (N.D. Ill. May 21, 2021), ECF No. 383-1. This

requirement makes sense because orders placed deeper in the order book (for example, at levels

6–10) are less likely to influence the market and thus less likely to be placed as part of a spoofing

strategy than orders closer to the top. The expansion from top five to top 10 levels is particularly

significant for Mike, whose options book routinely required him to place two way markets $1.5–



16
     Prof. Venkataraman told the jury that “in particular, market participants pay a lot of attention to the top five levels
     of the” order book, Trial Tr. 2714:12–15, from which it follows that spoofers looking to induce market participants
     to act are more likely to place their orders in these higher levels of the order book. See Trial Tr. 688:13–16
     (Sniegowski testified that “typically a spoof order would be close to the best.”); Trial. Tr. at 643:14–15 (traders
     place “the spoofing order . . . at or near the current offer price”).



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$2 (15–20 ticks) apart depending on the delta profile of his options book. Much more of this trading

is swept in by Prof. Venkataraman’s new, broader criterion.

       The government also claims that Mr. Cusimano acknowledged using Prof. Venkataraman’s

approach in the Moncada case. Gov’t Mem. at 11–12. We have no idea how the government can

make this representation—it is simply not true. In the portion of Mr. Cusimano’s trial testimony

cited by the government, he acknowledged working on the Moncada case and generally recalling

his work on it. He certainly did not testify about applying an approach similar to Prof.

Venkataraman’s, with no spoofing identification requirements for quick cancellation (or

cancellation at all) or significant order book imbalance, among other relevant factors. See Trial Tr.

3669:2–13. The government’s claim that the Moncada analysis tracked Prof. Venkataraman’s

parameters is even more confounding, because the documents cited by the government do not

describe the identification parameters applied in Moncada. In fact, it is absolutely false that Mr.

Cusimano applied criteria similar to Prof. Venkataraman’s here in Moncada, as Mr. Cusimano is

unaware of any context in which criteria as overinclusive as those Prof. Venkataraman applies to

Mike’s trading would be used to reliably identify spoofing. Ex. B (Cusimano Decl.) at ¶¶ 19; 22.

       Finally, as support for the claim that “there is more than a sufficient basis for the Court to

adopt Prof. Venkataraman’s” definition of spoofing, the government cites CFTC v. Oystacher, No.

15-CV-9196, 2016 WL 3693429, at *22–23 (N.D. Ill. July 12, 2016). Gov’t Mem. at 12. This

citation is puzzling, as the “narrowing criteria” accepted by the court in Oystacher provided that

the alleged spoof orders had to be placed and canceled in less than one second, had to be placed at

an existing price (i.e., did not establish a new best bid or offer), and had to double the volume

already in the limit order book at the relevant price levels (i.e., tending to ensure a sizable market

imbalance), none of which is included in Prof. Venkataraman’s selection criteria. Id.




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       In sum, Prof. Venkataraman’s novel, expansive screening method appears designed to

maximize loss while disregarding the characteristics of spoofing the government harped on at trial,

and thus cannot be used to reliably conclude that each of the thousands of flagged trading

sequences is unlawful. See Chube II, 538 F.3d at 705 (“For a prescription to be included in relevant

conduct, the court must evaluate the facts surrounding that particular prescription and explain why

those facts render it unlawful. Generalizing from ‘numerous’ files will not suffice.”).

           c. The Government’s Loss Methodology Is Seriously Flawed

       Even if Prof. Venkataraman were to limit his analysis to an appropriate set of trading

sequences, his methodology would remain incapable of calculating actual loss. His analysis

involves three calculations of purported loss, each critically flawed:

   •   An “unadjusted” calculation—the starting point for his other two calculations—in
       which he treats as a loss each and every trade in the market on the side opposite the
       purported spoof orders, without any evidence of causation, and contrary to the Supreme
       Court’s recognition that the purchase of an asset at an inflated price is not in itself a
       loss, see Dura Pharms., Inc. v. Broudo, 544 U.S. 336 (2005);

   •   An “adjusted” calculation, in which he reduces the (already invalid) unadjusted figure
       by a purported “but-for cost of trading” based on an aggregate comparison of trading
       activity during the alleged spoofing sequences and activity during “control periods”—
       not random or generic periods of actual scientific control, but rather the periods of time
       immediately preceding each sequence, as confounding a factor as that may be; and

   •   An “alternative” calculation—the “conservative” calculation that the government
       would have the Court adopt—in which he reduces the (invalid) unadjusted figure in the
       aggregate by applying a percentage multiplier derived overwhelmingly from other
       traders’ sequences, again based on so-called spread-crossing activity in the so-called
       control periods.

In his declaration, Mr. Cusimano provides a detailed analysis of the many errors in Prof.

Venkataraman’s methodology. See Ex. B (Cusimano Decl.) at ¶¶ 36–54. We will briefly highlight

the most significant, which plainly show that the government’s loss calculation is not reliable and

has not been reliably applied.




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                   i. There Is No Evidence of Causation in Any Sequence

         Without proof of causation, there is no basis to attribute a purported loss to a particular

defendant’s offense conduct—yet the government has provided no evidence of causation. United

States v. Burns, 843 F.3d 679, 688 (7th Cir. 2016) (loss assessment requires “causation analysis”).

This is an evidentiary failure twice over. First, the government has no reliable evidence (and Prof.

Venkataraman’s assumptions are not evidence) that Mike’s trading caused any market participant

to do anything at all.17 And second, there is no evidence that Mike’s trading thereby caused actual

loss to anyone.

         On the first point, Prof. Venkataraman’s assumption that Mike’s alleged spoof orders

caused market participants to trade in certain directions is undercut by the fact that in a significant

number of Prof. Venkataraman’s selected spoofing sequences, market participants gained when

Prof. Venkataraman’s theory would predict they should have lost.

         On the second point, under the Guidelines, “actual loss” means “reasonably foreseeable

pecuniary harm that resulted from the offense.” U.S.S.G. § 2B1.1, cmt. n.3(A)(i). But Prof.

Venkataraman has not shown that any purported victim in any sequence suffered such harm. He

fails even to consider the trades and positions of purported victims before or after each sequence.

         For example, David Pettey acknowledged that when the Susquehanna algorithm bought

gold futures from Mike during an alleged spoofing sequence, it did so at a lower price than it had

bought just a few minutes earlier. Trial Tr. 3068:7–23. In this scenario, Susquehanna improved its



17
     Prof. Venkataraman does not even account for the potential effect of trading by other traders in this case. For
     instance, he simply buckets Mike’s sequences together with Smith’s or Trunz’s or Edmonds’s in the few dozen
     times when they happen to overlap in time and metal and market side—because putting such sequences in a
     separate “Gregg Smith & Michael Nowak” bucket is easier than grappling with how to determine who caused
     what share of the supposed loss. He has not done the work. He assumes causation.




                                                        41
position by trading with Mike’s alleged spoof order, and, what is more, Susquehanna could have

sold out of that position at a profit given the price trend thereafter, as the price rose within three

seconds of the transaction between Pettey and Mike, and, from that point, his algorithm could have

traded at a better price for approximately 30 seconds, an eternity for a high frequency trading

algorithm. See DX 630. The government has provided no evidence that Pettey or any other market

participant who traded during alleged spoofing sequences actually did worse as a result of their

activity during those windows.

        This lack of evidence that Mike’s orders caused any pecuniary harm is fatal to Prof.

Venkataraman’s analysis. See United States v. Whiting, 471 F.3d 792, 802 (7th Cir. 2006) (district

court erred in determining loss despite lack of evidence of causation of pecuniary harm, because

“[t]o determine [a] loss figure . . . [the Guidelines] required a finding that the false statements were

a cause-in-fact” of pecuniary harm to victims). Indeed, in a civil securities-fraud context, the

Supreme Court has recognized that mere proof of causation of an inflated purchase price cannot

establish causation of actual loss, because “at the moment [a] transaction takes place” at the

inflated price, the supposed victim “has suffered no loss,” as it receives “ownership of a share that

at that instant possesses equivalent value.” Dura, 544 U.S. at 342. As the Court reasoned, if the

purported victim sells the asset before the inflated price recedes, then “the misrepresentation will

not have led to any loss,” id.; and if it sells after the price recedes, then that “might mean a later

loss,” but not necessarily, because the lower price could have been caused by any number of other

factors, such as “changed economic circumstances, changed investor expectations, new industry-

specific or firm-specific facts, conditions, or other events.” Id. at 342–43. That logic applies with

equal force here, where, even if one were to assume that Mike’s orders caused inflated or deflated




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prices, the government has done nothing to establish that any purported victims had offsetting

trades at less favorable prices, and nothing to exclude intervening causes of such prices.

               ii. Prof. Venkataraman Calculates Losses for the Full Duration of the Alleged
                   Spoof Orders, an Extreme and Unreliable Approach as Shown by the Data

       Another fundamental flaw in Prof. Venkataraman’s approach is that he attributes losses to

Mike during the entire duration of the alleged spoofing sequences, including purported losses that

occurred before Mike’s alleged spoof order reached Prof. Venkataraman’s 30-lot threshold and

losses that occurred well after any market response to Mike’s orders had dissipated. Ex. B

(Cusimano Decl.) at ¶¶ 47–54. Mr. Cusimano proves that this approach drastically overestimates

loss, as the excess spread-crossing theoretically caused by an imbalance in the gold futures market

dissipates within approximately two seconds, meaning that any “losses” calculated beyond that

point should not be attributed to Mike. Ex. B (Cusimano Decl.) at ¶¶ 48–49. Prof. Venkataraman

offers absolutely no evidence to support his inclusion of losses stemming from the full duration of

the alleged spoof orders, which under his broad selection criteria can be up to 82.3 seconds. We

are just supposed to take his word for it.

       In response to a similar critique offered by the defense in Bases, Judge Lee was persuaded

by the government’s argument that using the market-wide rate of response to imbalances likely

understates the harm caused specifically by the defendants’ large spoof orders. Order at 31–32,

Bases, 18-cr-48 (N.D. Ill. Mar. 6, 2023), ECF No. 734 (“Bases Order”). But here, unlike in Bases,

Mr. Cusimano analyzed Mike’s alleged spoofing sequences, in particular, to assess how quickly

the market reverted to ordinary rates of spread-crossing after imbalances that followed the

placement of his alleged spoof orders. The market returned to normal rates of spread-crossing

within 3.2 seconds of Mike’s alleged spoof order reaching the government’s 30-lot threshold and

within 0.9 seconds of his last alleged spoof order being canceled, so there is truly no basis for



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calculating losses for up to 82.3 seconds. Ex. B (Cusimano Decl.) at ¶¶ 50–54. And given the

expansive screening criteria Prof. Venkataraman adopted here, which removed the five-second

threshold for spoofing sequences, long trading sequences (which never should have been included)

disproportionately drive the loss figure, as reflected in Mr. Cusimano’s alternative loss calculation

below, with approximately 60% of Mike’s unadjusted loss number coming from trades that

occurred either before or after Mike’s alleged spoof order could reasonably have impacted the

market. Ex. B (Cusimano Decl.) at ¶ 54.

              iii. Prof. Venkataraman Uses Imaginary “But-For” Prices

       In his “unadjusted” calculation of supposed loss—which is the starting point for his other

two calculations—Prof. Venkataraman purports to measure loss in each sequence by comparing

(a) “the price[s] at which market participants traded” during the sequence with (b) “the price at

which they would have been able to trade” otherwise, which he claims is “the last observed best

bid price for buy-side Spoof Orders and the last observed best offer price for sell-side Spoof

Orders.” Venkataraman Decl. ¶ 25 (emphasis added). Despite the government’s outlandish claim

that this method “allowed him to measure with precision at least some of the concrete effects of”

Mike’s alleged spoofing, Gov’t Mem. at 13, this profoundly wrong and hugely impactful

assumption infects his entire analysis and underscores his unreliability as an expert.

       Prof. Venkataraman’s assumption means that if a market participant bought at 30¢ during

a sequence in which Mike purportedly drove the price up, and the last-observed bid–offer spread

before the start of the sequence was 10¢ (bid) – 20¢ (offer), then the difference between 30¢

(purchase price) and 10¢ (prior best bid) would be treated as a loss. But that is preposterous. In

this scenario, 10¢ was the best bid—the price at which orders to buy were resting in the order

book, unexecuted, waiting for sellers to hit them. There is no basis whatsoever to think (and good

reason to disbelieve) that a market participant “would have been able to” buy at 10¢, when in fact


                                                 44
there were resting, unexecuted orders to buy at 10¢ (with priority in the order book queue, no less).

In the real world, if homeowners choose to list their house for $300,000 (matching the best-priced

listing in the neighborhood), they might, or might not, find a willing buyer at that price. But in

Prof. Venkataraman’s world, $300,000 is a done deal. In his world, to sell for anything less would

be a “loss,” because, according to the professor, the homeowners “would have been able to” sell

for $300,000. This straightforward error contributes significantly to Mike’s loss amount.

              iv. Prof. Venkataraman’s “Adjusted Loss” Figures Rely on Comparison with
                  Deeply Flawed “Control Periods”

       As discussed above, Prof. Venkataraman “adjusted” his unadjusted loss figure in two

different ways, one supposedly more “conservative” than the other. Both, however, rely on

comparing activity during the alleged spoofing sequences to activity in “control periods.” The

problem is that these “control periods,” and Prof. Venkataraman’s methods for comparing them to

their associated spoofing sequences—the foundation for the loss calculation the government would

like the Court to adopt—are so flawed that they are incapable of fulfilling their claimed function

of “account[ing] for idiosyncratic market conditions.” Venkataraman Decl. at ¶ 34.

       For example, Prof. Venkataraman’s spread-crossing loss adjustment, which the

government ultimately asks the Court to accept, purports to estimate the loss caused by Mike’s

trading by comparing the rate of spread-crossing during the control periods and the alleged

spoofing sequences. This should mean that where the control period exhibits a rate of spread-

crossing that is higher or equal to the rate in the corresponding alleged spoofing sequence, there

will be no loss assessed, because Mike’s orders are clearly not causing excess spread-crossing as

compared with the control period. Nevertheless, as Mr. Cusimano points out, Prof. Venkataraman

calculates a total of $2,926,222 in alternative adjusted loss for Defendants and cooperating




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witnesses ($193,712 for Mike alone) during alleged spoofing sequences whose control periods

exhibited greater or equal levels of spread-crossing. Ex. B (Cusimano Decl.) at ¶ 43b.

         Moreover, Prof. Venkataraman selected his “control periods” based only on proximity in

time to the alleged spoofing sequences (i.e., he simply selected a period of similar duration that

occurred right before the alleged spoofing sequence). But merely controlling for proximity in time

is, as Mr. Cusimano points out, insufficient to have any comparative or predictive value in the gold

futures market, which is highly volatile and experiences major fluctuations from one minute to the

next. Ex. B (Cusimano Decl.) at ¶ 43d. In fact, Prof. Venkataraman’s selection of control periods

all but ensures that market volatility in the control periods that has nothing to do with Mike’s

alleged spoofing—including dramatic price sweeps, or trading lulls—will dramatically skew the

results of his loss calculations, because the so-called control periods that he selected do not actually

control for factors like market conditions, price sweeps, or trading volume. Ex. B (Cusimano Decl.)

at ¶ 43d.18

         To illustrate how Prof. Venkataraman’s “control periods” lead to artificially inflated

estimates of loss during the alleged spoofing sequences, Mr. Cusimano points to

Nowak_GC_B_2559. Ex. B (Cusimano Decl.) at ¶ 43d. During this sequence, Mike placed a scale,

waited 14 seconds, partially canceled that scale, and then placed additional scaled orders at

improved prices, before ultimately canceling them. By the way, the characteristics of this

sequence—the 14 second duration of the alleged spoof orders and the placement of a second scale

at prices more likely to be executed—are inconsistent with the theory that Mike was spoofing here.




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     As Mukarram Attari, expert for Mr. Smith, explains in his declaration, the disproportionate impact of fluctuations
     in control period conditions leads to substantial amounts of calculated loss that are primarily driven by trading
     during the control period, rather than the alleged spoofing sequence. We have no doubt that the same is true for
     Mike’s sequences. Ex. B to Declaration of Jonathan Cogan at ¶¶ 64–68 (Attari Decl.).



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Yet, two seconds after he canceled the last orders in his scale, another trader, James Vorley, entered

an aggressive order to buy 100 lots. Following the placement of Mr. Vorley’s order, the market

moved up $1.90, or 190 ticks. The price volatility in this sequence is clearly unrelated to Mike’s

trading, and yet Prof. Venkataraman attributed $42,932 of adjusted market loss to Mike, because

Prof. Venkataraman did not select a control period that exhibited similar price volatility “but-for”

Mike’s trading. This is only one example of how Prof. Venkataraman’s “control periods” fail to

actually control for the key variables.

                                      Figure 3 - Nowak_GC_B_2559




       Finally, any predictive or comparative value that might have been gained by selecting

control periods that occurred right before the alleged spoofing sequences is completely lost

because Prof. Venkataraman aggregates his results, meaning that he analyzed all the control

periods collectively and across all traders, rather than comparing each control period with its

corresponding alleged spoofing sequence. Ex. B (Cusimano Decl.) at ¶ 43e.




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               v. Even Assuming Causation, the Theoretical Loss Could Not Exceed $70,452

       Because the government has failed to carry its burden of proving loss, there should be no

offense-level adjustment based on loss. But to evaluate the true nature of the offense conduct under

18 U.S.C. § 3553(a)(1)—and to highlight the impact of Prof. Venkatraman’s flaws—we offer an

alternative methodology developed by Mr. Cusimano. If the Court is persuaded that loss is

calculable on this record, it should adopt Mr. Cusimano’s method for measuring it, because it is

better grounded in established industry practice and economic principles. See Ex. B (Cusimano

Decl.) at ¶¶ 55–70.

       Mr. Cusimano’s loss calculation methodology is explained in detail in Section V of his

declaration and summarized here. First, Mr. Cusimano responsibly identified the universe of trades

to be considered. In doing so, he selected only sequences where Mike himself traded, consistent

with the jury’s conspiracy acquittals, the Probation Officer’s conclusion, and the trial evidence,

which showed that Mike never jointly undertook with anyone to spoof. Then, Mr. Cusimano took

Prof. Venkataraman’s obviously overinclusive population of Mike’s alleged spoofing sequences

and narrowed it to those that at least arguably exhibit characteristics that are consistent with

spoofing. Using his years of expertise in investigating spoofing, Mr. Cusimano applied criteria that

anyone legitimately interested in identifying spoofing would agree with, such as only including

sequences where the alleged spoof orders were placed within the top five levels of the order book

and canceled within five seconds of being placed, criteria that Prof. Venkataraman and the

government endorsed as reliable selection criteria for spoofing in Bases but have inexplicably

abandoned here. See Ex. B (Cusimano Decl.) at ¶ 55.

       Second, Mr. Cusimano addressed the challenging question of causation. He did not, as

Prof. Venkataraman did, simply assume that every fill during the entire alleged spoofing sequence

was caused by Mike’s trading, a vastly overinclusive approach. Rather, he included fills that: (i)


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occurred within one of two alternative time periods,19 both of which recognize that the impact of

imbalances in the gold futures market dissipates after two seconds; (ii) occurred when the ratio of

Mike’s large-side to small-side orders was at least 2:1; (iii) resulted from a spread-crossing on the

side of the alleged spoof order; and (iv) occurred during sequences with market-level order book

imbalances. Ex. B (Cusimano Decl.) at ¶ 56–58.

         To calculate possible market loss from this population of fills, Mr. Cusimano followed

Prof. Venkataraman’s approach of comparing the price the alleged victim received to a price that

an alleged victim could have received in the absence of Mike’s orders. But unlike Prof.

Venkataraman, who selected imaginary “but-for” prices, Mr. Cusimano used the best bid or offer

on the opposite side of the market from Mike’s alleged spoof order (i.e., if the alleged spoof order

was a bid, Mr. Cusimano used the best offer in the market; if the alleged spoof order was an offer,

Mr. Cusimano used the best bid in the market). This method is rational, because the best bid or

offer on the opposite side of the market represents an open order that the alleged victim could have

chosen to trade with. Mr. Cusimano calculated an initial unadjusted loss value on that basis. Ex. B

(Cusimano Decl.) at ¶ 59.

         Mr. Cusimano and Prof. Venkataraman appear to agree that some amount of spread-

crossing would have occurred regardless of any market imbalance created by Mike’s alleged spoof

orders, but Prof. Venkataraman disregards the well-established and verified market principle that

the rates of spread-crossing originating from each side of the market are around 50/50 (i.e., within

a given period, about 50% of trades result from spread-crossing emanating from each side of the




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     For the first approach, Mr. Cusimano included only the fills that occurred within two seconds after Mike’s large-
     side depth in the top five price levels reached Prof. Venkataraman’s 30-lot threshold. For the second approach,
     he started counting fills at the same point in time but kept counting until two seconds after the placement of the
     last order in Mike’s scaled order group.



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market). Mr. Cusimano calculated the excess spread-crossing that occurred after Mike placed his

alleged spoof orders, consistent with the spread-crossing dissipation analysis described above,

compared it with the market equilibrium for spread-crossing, and found that:

       In the 3.2 seconds after the large side size threshold is reached, 66.4% of the fills resulted
       from spread-crossing from the side of the alleged spoof orders. In the 0.9 seconds after the
       last order in Mr. Nowak’s scaled order was placed, 69.6% of the fills resulted from spread-
       crossing from the side of the alleged spoof orders. In other words, compared to the expected
       rate of 50%, only 16.4% (if using 3.2 seconds) and 19.6% (if using 0.9 seconds) of the
       spread-crossing activity may be theoretically attributed to the scaled orders. Ex. B
       (Cusimano Decl.) at ¶ 66.
Applying this methodology results in an adjusted market loss of $59,927 to $70,452, meaning that

the government’s loss calculation overstates the loss associated with Mike’s orders by 5,289%.

Ex. B (Cusimano Decl.) at ¶ 68.

       2. The PSR’s Loss Estimate Is Not Supported

       The PSR appears to disregard Prof. Venkataraman’s loss calculation. But the loss estimate

the PSR does adopt is also unsupported, as it appears to be based solely on the government’s say-

so. See PSR ¶¶ 59–60. In September 2020—roughly two years before the trial in this case—

JPMorgan entered into a deferred prosecution agreement with the government that required it to

pay roughly $312 million as a “Victim Compensation Amount.” Deferred Prosecution Agreement

¶ 15, United States v. JPMorgan Chase & Co., 20-cr-175, ECF No. 11 (D. Conn. Sept. 29, 2020).

JPMorgan paid this money to the government, which has “sole discretion to determine how the

Victim Compensation Amount will be disbursed.” Id. ¶ 16. As of the date of the PSR, the

government represented to Probation that it had disbursed $1,088,600 of the Victim Compensation




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Amount to “victim traders” in connection with “spoofing conduct” by Mike. PSR ¶ 59. The PSR

adopts this amount as the loss estimate to calculate the offense level.20

         Restitution is not an appropriate substitute for estimating loss. United States v. Kuhrt, 788

F.3d 403, 423 (5th Cir. 2015) (calculating loss and restitution are “wholly distinct questions”). The

amount of restitution the government has elected to pay to self-claimed victims cannot prove loss

by a preponderance of the evidence. The government has provided no information about how the

total amount of restitution was calculated or how that restitution was apportioned to Mike. There

is simply no basis to determine that this unsubstantiated number—unrelated to any evidence

presented at trial—is reliable, and the Court should reject it.

         3. There Should Be No Adjustment for Number of Victims

         We object to the government’s request for, and the PSR’s application of, a two-level

enhancement for the purported involvement of ten or more victims.

         The PSR’s application relies on the government’s representation (as of the date of the PSR)

that it has elected to pay restitution to 48 self-claimed victims of purported spoofing by members

of the JPMorgan precious-metals desk. PSR ¶ 62. The government has sole discretion over the

number of victims who receive compensation and has provided no information to support the

identification of such victims. Accordingly, this number is no more reliable than the PSR’s loss

estimate—which is to say, not at all. Nor does the PSR identify the number of victims attributable

to Mike specifically. Despite correctly finding that other traders’ spoofing cannot be attributed to

Mike, the PSR uses the total number of firms to whom the government has paid compensation as




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     Although we object to the PSR’s loss estimate, the PSR correctly seeks to exclude any losses purportedly caused
     by traders other than Mike, noting “the absence of any specific evidence establishing Mike’s involvement in the
     spoofing practice of other traders.” PSR ¶ 59.



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a result of all purported spoofing on the desk. There is no evidence that more than one, much less

more than ten, of these 48 firms received restitution in connection with activity attributed to Mike.

          The government’s request for the adjustment, by contrast, is based on its contention that

Prof. Venkataraman’s “analysis” should be sufficient to establish that there were ten or more

victims of Mike’s trading. But there are no “victims” here for purposes of Section 2B1.1(b)(2)(A),

let alone ten or more, because, as discussed above, see supra, Section III.B.1, the Court has not

been presented with reliable evidence that any person or entity sustained actual loss as a result of

Mike’s trading within the meaning of the Guidelines.21 See U.S.S.G. § 2B1.1 cmt. n.1 (“Victim”

means “any person who sustained any part of the actual loss”); U.S.S.G. § 2B1.1 cmt. n.3(A)(i)

(“‘Actual loss’ means the reasonably foreseeable pecuniary harm that resulted from the

offense.”).22

          The “thousands” of purported spoofing sequences have not been shown to be unlawful

conduct, so there is no basis to apply an enhancement for the supposed victims in those sequences,

nor has the government provided evidence that any of these supposed victims sustained actual loss.

United States v. Skys, 637 F.3d 146, 154 (2d Cir. 2011) (“Without any determined amount of actual

loss to the financial institutions, the district court inappropriately included the institution as victims

under § 2B1.1(b)(2).”). Again, the government has provided no evidence on the trading positions

and activity of any purported victims, making it impossible to determine whether they suffered


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      Likewise, Mr. Cusimano’s loss calculation does not prove that any alleged victim sustained actual loss, because,
      as Mr. Cusimano points out, he adopts Prof. Venkataraman’s conflation of spread-crossing and financial harm.
      But, in reality, traders who cross the bid-ask spread do not necessarily suffer a loss. Ex. B (Cusimano Decl.) at ¶
      70. Neither does Mr. Cusimano’s analysis demonstrate what happened to the positions of alleged victims after
      their trading during the alleged spoofing sequences, which is a necessary showing for calculating loss, a point
      that the prosecutors in Coscia acknowledged. Sentencing Tr. at 13:18–14:2, United States v. Coscia, 14-cr-551
      (N.D. Ill. Jul. 15, 2017). As a result of these limitations, neither Prof. Venkataraman’s nor Mr. Cusimano’s loss
      calculations are capable of proving that alleged victims sustained actual loss.
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     At most, the government introduced evidence as to a single victim, Susquehanna, which did not trade with Mike
     during any of the sequences underlying the counts of conviction.



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any financial loss and, if so, how much; and no evidence about their trading strategies or operative

algorithms to demonstrate that they could have even been impacted by Mike’s orders.

       Absent these showings, there is no basis for application of the enhancement here.

       4. There Should Be No Adjustment for Sophisticated Means

       We object to the government’s request for a two-level enhancement for sophisticated

means under U.S.S.G. § 2B1.1(b)(10)(C). As Probation agrees, there is not an adequate basis to

apply the enhancement. See PSR ¶ 64. Rather, “the adjustment for sophisticated means is

warranted only ‘when the conduct shows a greater level of planning or concealment than a typical

fraud of its kind.’” United States v. Ghaddar, 678 F.3d 600, 602 (7th Cir. 2012) (citing United

States v. Green, 648 F.3d 569, 576 (7th Cir. 2011)). “The question is not whether the offense is

generally considered a sophisticated one—for instance, securities fraud as compared to simple

assault. Rather, the question is whether the particular offense conduct was more than usually

sophisticated when compared to the offense in its basic form.” United States v. Laws, 819 F.3d

388, 393 (8th Cir. 2016). The government does not credibly explain how Mike’s conduct was

“more than usually sophisticated” when compared with the offense of spoofing “in its basic

form”—and indeed there is no evidence that it was. See Bases Order at 43 (holding that “plac[ing]

false orders with the intent not to execute them” and “cancel[ing] the false orders before they were

filled” is “spoofing defined” and involves “no remarkable complexity”).

       The conduct at issue amounts to Mike sitting at his computer, clicking his mouse to place

orders, and clicking his mouse to cancel orders. See PSR ¶ 64 (“because the defendant engaged in

such conduct manually, as opposed to through the use of an algorithm, and did not coordinate

trading with other participants . . . such conduct is not complex or intricate.”). If Mike’s conduct

qualifies for this enhancement, it is hard to imagine any spoofing offense that would not, which

means that this enhancement should not apply. See Ghaddar, 678 F.3d at 602. The government


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argues the enhancement should apply because Mike placed scaled orders rather than single large

orders. Gov’t Mem. at 21–22. Judge Lee rejected this argument, Bases Order at 43 (“the mere fact

that Defendants did not engage in the most obvious form of spoofing possible (placing a single

large order) does not mean that the method they chose can fairly be called ‘sophisticated’”), and

with good reason: The difference between these two methods of spoofing, for a manual trader, is

a few more clicks of a mouse.

       Contrary to the government’s arguments, neither the duration of Mike’s conduct nor the

sophistication of his purported victims justifies the application of this enhancement. Gov’t Mem.

at 22–23. Regardless of duration, the conduct was the same: manually clicking a mouse to enter

and cancel orders. And in a market dominated by algorithms, the fact that some of Mike’s

counterparties were algorithms is not surprising and does not render his conduct more

sophisticated. On the contrary, in a market dominated by lightning-fast algorithms that can spoof

using computer code, the suggestion that Mike’s manual trading was “sophisticated” should not

persuade the Court. Bases Order at 44 (“The fact that Defendant did not employ [the] more

sophisticated [algorithmic] method of spoofing weighs against application of the [sophisticated

means] enhancement.”).

       5. There Should Be No Adjustment for Role in the Offense

       We agree with Probation and object to the government’s request for a four-level

enhancement pursuant to Section 3B1.1 based on the claim that Mike was an “organizer or leader

of a criminal activity that involved five or more participants.” See PSR ¶ 69. First, and as discussed

above, no evidence suggests that the relevant offense conduct involved any participants other than

Mike himself, which is why he was acquitted of conspiracy.

       Even if the government had presented evidence that five or more participants were involved

in the same conduct as Mike, the government has provided no evidence that Mike was a “leader


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or organizer” of any criminal conduct.23 Instead, the government relies on the fact that Mike was

head of the desk, but ignores that an enhancement under Section 3B1.1 requires proof that the

individual was a leader or organizer of the criminal activity, not merely in a position of leadership

in the organization in which that criminal activity occurred. See Bases Order at 40–41 (“[T]he

mere fact that Bases and Pacilio were senior to [a co-conspirator] in their company’s legitimate

business dealings does not support an inference that this same organizational relationship existed

in their criminal [spoofing] scheme.”); United States v. Litchfield, 959 F.2d 1514, 1523 (10th Cir.

1992) (“Although defendant might be termed an organizer or leader of [a mining company], that

operation was not itself criminal activity. The fraudulent marketing scheme and the conspiracy are

the relevant criminal activity,” and there was no evidence that he was a leader or organizer of that

activity); accord United States v. Grigsby, 692 F.3d 778, 790 (7th Cir. 2012) (“manager or

supervisor” under the Guidelines “should be straightforwardly understood as simply someone who

helps manage or supervise a criminal scheme.”). The government has provided no evidence that

Mike led or organized the alleged criminal activity. See PSR ¶ 69 (“[E]ven if the defendant was

the senior trader and, at times Managing Director, on the precious metals desk, the available

information in this case does not establish by a preponderance of the evidence that the defendant

oversaw spoofing of his confederates or supervised their trading activities.”).

         The government tries to distract from the lack of evidence that Mike was a leader of jointly

undertaken activity by pointing to its claim that he “coached” Trunz to lie to Compliance and



23
     Despite the government’s claim that “[a]t least five traders working under Nowak engaged in spoofing: defendant
     Smith, Edmonds, Trunz, Jordan and Simonian,” Gov’t Mem. at 25, as a baseline matter, there is absolutely no
     evidence that Jordan or Simonian ever engaged in criminal conduct with Mike or the others. Edmonds and Trunz
     both testified that they were not aware that Simonian had spoofed until after he was fired. See Trial Tr. 1485:8–
     14; 2498:12–15. There is likewise no evidence that Mike knew that Simonian had spoofed until it was brought to
     his attention by JPMorgan compliance personnel. And notably, the government abandoned the conspiracy charges
     against Jordan after the acquittals of the three codefendants.



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“pressured” Trunz not to plead guilty. As explained in Section III.A.2, supra, these allegations are

not supported by a preponderance of the evidence and turn entirely on Trunz’s subjective

interpretation of two isolated questions posed by Mike.

       The lack of evidence supporting this enhancement is underscored by reference to the

factors that the Guidelines provide in Application Note 4 to Section 3B1.1(a), to distinguish leaders

and organizers from general participants when that determination is not self-evident:

          i.   Decision-making authority: There was no evidence Mike exercised any
               authority over (or had any role in) other traders’ individual decisions to spoof.
               See Bases Order at 38 (according no weight to the “decision-making authority”
               factor where the government identified only one instance of possible decision-
               making authority over another trader’s spoofing activities). Neither of the
               government’s cooperating witnesses testified that Mike directed them to spoof
               or even spoke to them about spoofing, other than to ask them if they were
               spoofing and, if so, to stop and come forward, after Simonian’s spoofing came
               to light.

         ii.   Nature of participation in commission of the offense: Mike’s engagement in the
               offense conduct consisted of sitting in front of his computer screens and
               clicking a mouse, by himself. There was no evidence that Mike participated in
               any other trader’s spoofing, or that anyone else participated in Mike’s alleged
               spoofing, for that matter.

        iii.   Recruitment of accomplices: There was no evidence that Mike ever recruited
               anyone to spoof. To the contrary, the government’s whole theory is that Smith
               and Trunz had been spoofing ever since their time at Bear Stearns, before they
               joined the JPMorgan desk where Mike worked, and that Edmonds began
               spoofing after Smith and Trunz joined the desk, not as a result of anything Mike
               ever said or did. Moreover, Mike, as the head of the desk, supported
               JPMorgan’s disciplinary process against (and ultimately termination of)
               Simonian, opining that Simonian was “clearly guilty of the allegations” against
               him.

         iv.   Claim of right to a larger share of the fruits of the crime: There is no evidence
               that Mike made such a claim, or that he even knew of anyone else’s spoofing,
               as reflected in the racketeering and conspiracy acquittals. Mike was paid an
               annual salary and discretionary bonus set by JPMorgan, based on a variety of
               factors, including, primarily, Mike’s own trading profits, and, secondarily, the
               profits of the desk. He was not paid on commission. There was no evidence that
               any trader’s spoofing could have had any impact on Mike’s substantial
               compensation as desk head and as lead trader of a profitable gold options



                                                 56
                  book.24 Under any calculation, the profits that Mike generated for the bank from
                  his options trading dwarfed any theoretical gain to the bank from spoofing.

           v.     Degree of participation in planning or organizing: There was no evidence that
                  Mike planned or organized others’ separate spoofing. The only evidence that
                  he knew about others’ spoofing was the testimony of the cooperators, Edmonds
                  and Trunz, who said that they inferred that Mike was aware of their spoofing
                  even though it was never discussed. But even these cooperators did not claim
                  that Mike planned or organized their spoofing or anyone else’s.

           vi.    Nature and scope of the illegal activity: The jury acquitted Mike and his
                  codefendants on the racketeering and conspiracy charges. The scope of his
                  offense conduct is limited to his own trading, in the narrow set of sequences
                  underlying the counts of conviction. See Bases Order at 40 (describing
                  defendants’ spoofing scheme as “not exactly breathtaking in its scope”).

          vii.    Degree of control or authority exercised over others: Although he was the head
                  of the desk, Mike did not exercise control over the real-time trading decisions
                  of others on the desk, which occurred in seconds while he was managing his
                  own options book. There was no evidence that Mike ever directed anyone to
                  spoof. See Bases Order at 40 (finding that the defendants who held senior
                  positions on the trading desk did not exercise control and authority over anyone
                  on the desk in the realm of spoofing).

Examination of these factors and the government’s evidence at trial make clear that each individual

trader was responsible for his own actions and decisions. There was no conspiracy to spoof and no

coordinated spoofing. See supra, Section III.A.1. That said, even if there had been jointly

undertaken criminal conduct, this enhancement is not applicable when a defendant played no

greater “role in the offense” than any of the other participants, as would be true here. United States

v. Katora, 981 F.2d 1398, 1402–03 (3d Cir. 1992) (enhancement for “organizer, leader, manager,

or supervisor” under Section 3B1.1(c) is inappropriate where two defendants “shared

responsibility for creating and carrying out the fraud,” but where “they bear equal responsibility

for ‘organizing’ their own commission of a crime” and where neither defendant “organized the


24
     The fact that Mike’s total compensation was greater than that of other members of the desks does not suggest that
     he claimed the right to a larger share of the fruits of the crime. As in Bases, Mike’s “larger compensation was
     attributable to [his] legitimate position[] at the company” and does not show that he claimed the right to a larger
     share of the proceeds. Bases Order at 39–40.



                                                          57
other”). The government has not produced a single piece of evidence, let alone a preponderance

of evidence, to show that Mike organized the criminal conduct of any other trader on the desk. So,

as Probation agrees, there is no basis for applying this enhancement.

         6. There Should Be No Adjustment for Special Skill

         We object to Probation’s application of a two-level enhancement for use of a special skill

pursuant to Section 3B1.3. PSR ¶ 70.25 Trading futures is a skill possessed by vast numbers of

people in the general public all around the world, whereas “special skill” in the Guidelines “refers

to a skill not possessed by members of the general public and usually requiring substantial

education, training or licensing,” e.g., “pilots, lawyers, doctors, accountants, chemists, and

demolition experts,” U.S.S.G. § 3B1.3 cmt. n.4 (emphasis added), which is not true of futures

trading. Indeed, many institutions at which individuals commonly hold brokerage accounts also

allow members of the general public to open futures trading accounts, which allow them to log

onto trading platforms from their personal computers or phones and trade futures online.

Laypeople can trade futures, and all it takes to spoof is a click of a mouse, no special skill.

         Moreover, if futures trading in itself were a special skill, then every spoof would involve

special skill. This fallacy is also present in Probation’s opinion that Mike’s “skills in affecting

market prices through layering and spoofing constitute special skills.” PSR ¶ 70. Such reasoning

dictates that all spoofing involves the use of a special skill, rendering meaningless the distinction

between those who do possess a special skill in this context (such as algorithmic traders) and those

who do not.




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     The government does not argue in its memorandum that an adjustment for use of a special skill applies to Mike.



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       7. There Should Be No Adjustment for Obstruction of Justice

       Finally, we object to Probation’s application of and the government’s request for a two-

level enhancement under Section 3C1.1 for alleged willful obstruction of justice based on Mike’s

“no” answer to the CFTC.

       For the obstruction enhancement to apply, the defendant must have “willfully obstructed

or impeded, or attempted to obstruct or impede, the administration of justice with respect to the

investigation, prosecution, or sentencing of the instant offense of conviction,” and “the obstructive

conduct [must have] related to (A) the defendant’s offense of conviction and any relevant conduct;

or (B) a closely related offense.” U.S.S.G. § 3C1.1 (emphases added). As discussed in Section

III.A.3., supra, Mike’s testimony cannot serve as the basis for this enhancement because the

government has not established that his testimony was untruthful, given the context of the CFTC’s

question and Mike’s response. It would be unfair in the extreme to punish him based on the

government’s out-of-context interpretation of the question he was asked because, even if that were

the questioner’s intent, “the court should be cognizant that inaccurate testimony or statements

sometimes may result from confusion [or] mistake,” which would not constitute “a willful attempt

to obstruct justice.” See U.S.S.G. § 3C1.1 cmt. n.2 (emphasis added). Consistent with that caution,

and given the ambiguity about the scope of the question, there is no basis to impose an obstruction

enhancement when the straightforward interpretation of the relevant line of questioning indicates

that he answered truthfully.

       In addition, the Guidelines recognize that a “denial of guilt” that does not constitute perjury

“is not a basis for application of this provision.” Id. While the question at issue concerned Mike’s

“knowledge” regarding “traders” on the desk, there is no reliable evidence that Mike knew of any

other traders on the desk spoofing in 2010. Again, he was acquitted of conspiracy given the striking




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paucity of evidence of any such knowledge, let alone coordination. At most, then, his response

was a personal denial of guilt, and there is no basis to conclude that he willfully lied.

       8. A Downward Departure Is Warranted

       If the Court concludes that the final offense level is in Zone D (advising a custodial

sentence), we respectfully submit that there are several bases to depart downward to an offense

level corresponding to a Guidelines range that provides for a noncustodial sentence.

       First, the Guidelines (and the government) recognize that where an offense causes small

losses to a large number of victims, the resulting offense level may overstate the seriousness of the

offense such that a downward departure may be appropriate:

       For example, a securities fraud . . . may produce an aggregate loss amount that is
       substantial but diffuse, with relatively small loss amounts suffered by a relatively
       large number of victims. In such a case, the loss table in subsection (b)(1) and the
       victims table in subsection (b)(2) may combine to produce an offense level that
       substantially overstates the seriousness of the offense. If so, a downward departure
       may be warranted.

U.S.S.G. § 2B1.1, cmt. n.21(C); see also Gov’t Mem. at 32. The government’s proposed loss

amount and victim count are entirely consistent with this scenario. Any loss suffered by purported

victims—and, as discussed above, there is no evidence of “victims” within the meaning of the

Guidelines here—would necessarily be “diffuse.” In these circumstances, attempting to calculate

a loss would risk “substantially overstat[ing] the seriousness of the offense,” U.S.S.G. § 2B1.1,

cmt. n.21(C), which the government’s calculation here plainly does. The government suggests

without any support that such a departure is never appropriate in “market manipulation” cases that

involve diffuse losses. Gov’t Mem. at 32–33. The government’s contention is undercut by the

example the Guidelines provide as meriting a downward departure, namely a “securities fraud

involving a fraudulent statement made publicly to the market,” U.S.S.G. § 2B1.1, cmt. n.21(C)—

which mirrors the theory of fraud the government put forth in this case.



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       Second, we respectfully submit that spoofing is outside the heartland of fraud or attempted

manipulation cases, and was not adequately taken into consideration by the Sentencing

Commission in formulating the Guidelines, such that a downward departure is warranted pursuant

to Section 5K2.0(a)(1).

       Finally, the recent amendment to the Guidelines suggests that a person with no criminal

history—like Mike—is a candidate for a noncustodial sentence. See U.S. Sentencing Comm’n,

Amendments to the Sentencing Guidelines (Prelim.) at *80–84 (April 5, 2023), available at

https://www.ussc.gov/sites/default/files/pdf/amendment-process/reader-friendly-

amendments/20230405_prelim-RF.pdf. In recognition of the low risk of recidivism among

defendants with zero criminal history points, the amended Section 4C1.1 provides that such

defendants should receive a two-level downward adjustment of offense level where, as here, the

defendant was not an organizer of others in the offense, did not personally cause substantial

financial hardship, and does not meet certain other criteria. Id. The amended application notes to

Section 5C1.1 provide that “a sentence other than a sentence of imprisonment” is “generally

appropriate” for defendants who receive such a downward adjustment and whose Guidelines level

is 11 or less, and that such a sentence “may be appropriate” if “the applicable guideline range

overstates the gravity of the offense because the offense of conviction is not a crime of violence

or an otherwise serious offense.” Id. at *84. The amendment clearly recognizes that imprisonment

is not necessary to achieve the goals of sentencing for a defendant like Mike.

C. The Court Should Impose a Noncustodial Sentence

       We are very mindful of the difficult burden that a sentencing judge faces in balancing the

legitimate interests of society in deterrence and punishment with fairness and justice to the person

who has been convicted of a crime. Respectfully, we believe that when the relevant factors are

weighed, the balance here appropriately tips in favor of a noncustodial sentence. We reject the


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government’s suggestion that we are seeking special treatment for Mike because he is a white-

collar defendant. Gov’t Mem. at 36. We simply seek a just sentence.

       When considering the factors set forth in 18 U.S.C. § 3553(a), a district judge is given

broad discretion, “for good reason,” to consider the facts, circumstances, and impacts of the

sentence, including “the demeanor of the defendant, the sincerity of his remorse, incentives that

he had to change his path, the demeanor of those speaking in mitigation and the support they might

add to rehabilitation efforts,” and other such aspects that may not be evident from the “cold,

entombed,         inflectionless       record.”        United        States      v.       Daoud,

989 F.3d 610, 611 (7th Cir. 2021). Thus, while district courts have taken a range of approaches to

weighing the 18 U.S.C. § 3553(a) factors, there is wide agreement that the post-Booker sentencing

regime gives district judges “considerable discretion to individualize the sentence to the offense

and offender as long as the judge’s reasoning is consistent with § 3553(a).” United States v.

Jackson, 547 F.3d 786, 792 (7th Cir. 2008) (quoting United States v. Wachowiak, 496 F.3d 744,

748 (7th Cir. 2007)).

       We respectfully urge the Court to consider the following when deciding the sentence to

impose on Mike.

       1. The Nature and Circumstances of the Offense

       The Court should not be persuaded by the government’s attempt to exaggerate Mike’s

conduct through its grossly inflated loss estimate, misleading claims that Mike taught and

indoctrinated others, suggestion that Mike was the most powerful gold market participant on the

planet who essentially undermined the entire economy, and inflammatory references to more than

a trillion of dollars of notional value—a metric that has no relevance here.

       The conduct underlying Mike’s conviction is nowhere near the $55 million fraud that the

government portrays. The reality is that Mike was an options trader who manually traded in the


                                                  62
futures market to hedge (not for clients) and, when doing so, was competing in a market dominated

by billionaire algorithmic trading firms.26 Mike’s conduct amounts to placing orders for scant

minutes over five years. It was manual, sporadic, purely solo trading activity that did not cause a

demonstrated loss to the purportedly victimized algorithmic traders or anyone else. Contrary to the

government’s baseless assertions, there is absolutely no evidence that Mike ever encouraged or

taught or indoctrinated anyone to spoof.

         While a defendant’s offense conduct in a financial-crime case usually focuses on his

personal gain, explaining why he did it, here, the government offered no evidence of personal gain

to Mike from spoofing, or even of attempted personal gain. Of course, the government made

repeated references at trial to Mike’s compensation, but never even tried to link it to spoofing—

because there is no link. The government now calls spoofing profitable to Mike without providing

any meaningful analysis, and despite the fact that profits on the desk went up after the alleged

spoofing stopped. Gov’t Mem. at 33; Trial Tr. 1389:18–21. It cites to vague testimony that “some”

on the desk shared in spoofing profits more than others without any link to Mike. Gov’t Mem. at

33. It cites nothing for its assertion that “the trial evidence showed clearly” that defendants were

motivated to spoof to boost profits and keep their lucrative jobs. Id. The only motive the

government tried to establish at trial—spoofing for the benefit of hedge-fund clients—is not

applicable to Mike, who did not trade futures for hedge fund clients. Mike was well paid because

he was indisputably an extremely successful options trader,27 earning options profits for JPMorgan



26
     The complaints the government cites as launching the CME’s investigation of Mr. Smith—in which the
     complainant threatened to leave the futures markets as a result of market manipulation, Gov’t Mem. at 18, 31,
     37—were made by a representative of an algorithmic hedge fund that was, itself, sanctioned by the CME in 2014
     for engaging in wash trading.
27
     Mike’s options profits were driven by successfully buying and selling options at a profit “over the counter,” not
     on an exchange.



                                                         63
in excess of $200 million over the time period—options profits that dwarf any conceivable

incremental profits that spoof orders in futures might generate, $10 per tick at a time. Indeed, the

only evidence at trial on this topic was an analysis performed by Mr. Cusimano, which the

government did not even challenge. That analysis confirms the truth that, even if one adopted Prof.

Venkataraman’s flawed method for identifying spoofing, the theoretical gain to JPMorgan from

Mike’s trades would have had only a trivial impact on Mike’s profits from his options portfolio.

Trial Tr. 3621:21–3624:20; DX 546 at 13.

       Simply put, the conduct here is unlike a typical white-collar fraud motivated by greed to

the material detriment of victims. Incarceration is not necessary or justified under these

circumstances.

       2. Mike’s Good Character and Works and Unblemished Prior Record

       In determining an appropriate sentence, the Court must consider the “history and

characteristics of [a] defendant.” 18 U.S.C. § 3553(a)(1). Such factors need not be “extraordinary”

to warrant a downward variance from the applicable Guidelines range. United States v. Warner,

792 F.3d 847, 857 (7th Cir. 2015) (citing Gall v. United States, 552 U.S. 38, 47 (2007)). We urge

the Court to consider Mike’s life and character in its entirety, including the dozens of letters of

support written by Mike’s family, friends, and former colleagues. See supra, Part II.

       Mike’s life has been defined by honesty, hard work, and commitment to friends and family.

Accepting the jury’s verdict, the conduct for which Mike was convicted—a minuscule percentage

of the trading he did in his career—reflects an aberration in an otherwise law-abiding life. His life

has been defined by honesty, hard work, and commitment to friends and family. His former

colleagues describe him as a man of unimpeachable integrity who sought to follow and strengthen

JPMorgan’s compliance policies. As his friends and family attest, Mike is a thoroughly kind,

caring, and responsible person. He is a husband, father, son, brother, and dear friend to people who


                                                 64
depend on him for love and support. During this difficult time, he has managed to maintain a

positive attitude and to double down on dedicating himself to his family and to his community:

tutoring an under-resourced child, earning a master’s degree in the hope of one day teaching, and

beginning the process of becoming a foster parent. Mike has continued to give of himself during

this most difficult period of his life, which, we submit, speaks volumes about his character and

about the positive impact that he will continue to have on his community if afforded a noncustodial

sentence.

       3. A Custodial Sentence Would Create Unwarranted Disparities

       A noncustodial sentence would ensure avoidance of “unwarranted sentence disparities

among defendants with similar records who have been found guilty of similar conduct.” 18 U.S.C.

§ 3553(a)(6).

       The Court should assess disparity by comparing this case to other spoofing cases, because,

no matter how packaged, this is a spoofing case, pure and simple. While the counts of conviction

stem from four charged offenses, all the charges rest on the same underlying alleged spoofing

activity. Indeed, the government itself embraced this point at trial. See, e.g., Trial Tr. 394:19–23

(opening statement) (“[T]his scam, it’s referred to by a number of names. . . . It is called clicking,

layering, spoofing, and non-economic trading. But no matter what it is called, the scheme . . .

follows the same four steps.”). To be sure, the government’s theory here turns all spoofing into

fraud and attempted manipulation.

       Almost all spoofing is not criminally charged, but rather pursued through civil enforcement

actions. The government ignores this fact, focusing only on criminal spoofing prosecutions, Gov’t

Mem. at 38–41, which are exceedingly rare. In those cases that have involved criminal charges,

many defendants have received non-Guidelines sentences, including noncustodial sentences. The

government has recognized this pattern, but urges the Court to ignore the sound decisions of other


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courts. See, e.g., United States v. Wang, No. 22-cr-10123, ECF No. 114 (D. Mass. Nov. 23, 2022)

(“[T]here are numerous instances in recent years in which cases involving similar market

manipulation conduct has been charged only by the SEC and not criminally. And those cases that

have resolved criminally have[] . . . often included sentences significantly below the guidelines

sentencing ra[n]ge.”).

       Vorley offers a comparison to this case. There, Cedric Chanu and James Vorley were

convicted of seven and three counts of wire fraud affecting a financial institution, respectively (as

here, all grounded in purported spoofing activity), for conduct stemming from an alleged five-year

spoofing scheme. Each was acquitted of conspiracy. Chanu and Vorley were each sentenced to

one year and one day in custody with no fine. Sentencing Tr. 82–84, United States v. Vorley, 18-

cr-35, ECF No. 400 (N.D. Ill. June 21, 2021) (“Vorley Sentencing”); Sentencing Tr. 51, id., ECF

No. 403 (N.D. Ill. June 28, 2021) (“Chanu Sentencing”).

       As in Vorley, it is essential to consider the collateral consequences that Mike already faces

as a result of his conviction, including the loss of a decades-long career. Vorley Sentencing at 70–

71 (citing United States v. Stewart, 590 F.3d 93, 141 (2d Cir. 2009)) (affirming finding that

defendant’s “conviction made it doubtful” that he “could pursue his career as an academic or

translator, and therefore that the need for further deterrence and protection of the public [wa]s

lessened because the conviction itself already visit[ed] substantial punishment” (citation and

quotations omitted)). Mike’s prosecution likewise has been “unusually long” and accordingly has

“exacted[] . . . an unusually severe strain and uncertainty on [him] and his family.” Id. at 82.

       Mike’s sentence should not be as harsh as those in Vorley because certain aggravating facts

in that case—evidenced by chats and a cooperating witness’s testimony—are not present here. For

example, Chanu’s sentence was intended to “send the message that the proper response to someone




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who engages in market manipulation is not ‘teach me how to do that,’” as Chanu had replied to

Edward Bases, another trader convicted of spoofing, when Bases referenced market manipulation

in a chat. Chanu Sentencing at 36–37, 40. Vorley’s chats showed similar enthusiasm. See, e.g.,

Trial Tr. 1905, United States v. Vorley, 18-cr-35, ECF No. 345 (N.D. Ill. Sept. 21, 2020) (Agent

Luca testified regarding a chat excerpt in which Vorley stated, “99.56 spoofing it up, ahem,

ahem”); id. at 700 (cooperating witness testified about a chat in which Vorley stated “It was classic.

Jam it. W000000000000” and “bif it up”). By contrast, the government has not identified a single

piece of evidence suggesting any such cavalier attitude or embrace of spoofing on Mike’s part. His

sentence should properly reflect his reduced culpability relative to Chanu and Vorley.28

          Bases provides another good point of comparison. Edward Bases was convicted of nine

counts of wire fraud, John Pacilio was convicted of seven counts of wire fraud and one count of

commodities fraud, and both were convicted of conspiracy to commit wire fraud. Bases and Pacilio

were each sentenced to one year and one day in custody and a $50,000 fine. Sentencing Tr. 62–

64, United States v. Bases, 18-cr-48, ECF No. 740 (N.D. Ill. March 9, 2023) (“Bases Sentencing”);

Sentencing Tr. 55–58, id., ECF No. 741 (N.D. Ill. March 9, 2023) (“Pacilio Sentencing”).

          In addition to their conspiracy convictions, Bases’s and Pacilio’s conduct involved

numerous aggravating factors that are not present here. In particular, Judge Lee found it to be a

“distinguishing factor” that Bases and Pacilio were engaged “in teaching and encouraging others

to implement and effectuate the spoofing scheme.” Bases Sentencing at 63:21–24; Pacilio

Sentencing at 57:12–14 (“Mr. Pacilio . . . oversaw and taught Mr. Lakhan in carrying out the

spoofing scheme.”). Whereas here, the evidence at trial showed that Mike never so much as spoke


28
     After applying enhancements for loss, sophisticated means, and number of victims, the Vorley court nevertheless
     found that a substantial downward variance to a sentence of one year and a day was appropriate. See Vorley
     Sentencing at 81–83 (finding that the Guidelines range was “significantly greater than necessary to promote
     [sentencing] objectives”).



                                                         67
to his alleged coconspirators about spoofing, apart from telling them not to do it, the opposite of

encouragement. Bases’s conduct also appeared to be purposely malicious, as he “bragg[ed] openly

to his colleagues about how he F’s the market and manipulates the market a lot,” Bases Sentencing

31:23–32:1. Mike’s conduct was nothing of the sort.

       The Coscia case further underscores that a sentence anywhere near the 30 months

recommended by the PSR (let alone the 60 months sought by the government) would be wildly

disproportionate. Coscia was sentenced to 36 months based on misconduct far more egregious than

that alleged here, by any measure: He commissioned two computer programs to “act like a decoy”

and “pump the market” (i.e., to do nothing but spoof) full time, United States v. Coscia, 866 F.3d

782, 789 (7th Cir. 2017) (quotations omitted), which the court found went “well beyond . . .

sophisticated means,” Sentencing Tr. 19:20–23, United States v. Coscia, 14 CR 551, ECF No. 162

(N.D. Ill. July 13, 2016) (“Coscia Sentencing”), and he used those computer programs to reap

personal profits. He was also found to have perjured himself during his testimony at trial. Coscia

Sentencing at 21:22–22:6 (“And the jury obviously . . . would have had to conclude that he was

not testifying truthfully . . . .”). The government acknowledges that the Coscia court determined

that loss was not reasonably calculable and instead considered the $1.4 million that Coscia

personally gained, yet it misleadingly compares Coscia’s gains to its inflated loss amount to argue

that Mike’s conduct is worse than Coscia’s. Gov’t Mem. at 39. This is not an appropriate

comparison, and the Court should disregard it. And while the government tries to make much of

the difference between the five-year time span covering Mike’s conduct (first trade to last trade)

and the ten weeks in Coscia, that’s a false comparison. Mike was convicted on manual orders that

amounted to minutes of activity over five years. Coscia’s algorithm was programmed to spoof

100% of the time for ten weeks straight, which amounts to well over a thousand hours of spoofing.




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Notably, the jury took less than an hour to convict him on all twelve fraud counts. Coscia

Sentencing at 47.

          And even under those circumstances—including factors justifying enhancements for use

of a special skill, use of sophisticated means, and obstruction of justice—the Coscia court found

that the case did not “warrant[] anywhere near the sentence [of 70–87 months] that the guidelines

would prescribe,” and instead imposed a sentence of 36 months. Id. at 49–50. In accordance with

“the need to avoid unwarranted similarities among other [defendants] who were not similarly

situated,” Mike’s sentence should be substantially less than Coscia’s, just as Vorley’s, Chanu’s,

Bases’s and Pacilio’s were. See United States v. Carter, 538 F.3d 784, 795 (7th Cir. 2008) (quoting

Gall v. United States, 552 U.S. 38, 55 (2007)) (cleaned up). Far from seeking out and implementing

advanced computer programming designed to manipulate the market 24/7, Mike engaged in

manual trading; there is no allegation, let alone proof, of personal profit; and he did not testify at

trial.

          Certain other cases targeting spoofing conduct with criminal charges in recent years have

resulted in noncustodial sentences or sentences of time served for relatively short periods in

custody. Jiali Wang, for example, pled guilty to conspiring to commit securities fraud over the

course of close to six years, including by participating in and overseeing coconspirators’

manipulative trading. He was sentenced to time served (for roughly three and a half months in

custody).29 Information, United States v. Wang, 22-cr-10123, ECF No. 104 (D. Mass. July 29,



29
     Despite the government’s assertions that Wang “led” a scheme involving “at least eight co-conspirators, all of
     whom he hired,” that “illicit profits generated from the scheme—which profits the defendant controlled and
     distributed, including to himself—were at least $8,191,874.80,” and that the guidelines range called for 78–97
     months in custody, the government advocated for time served and nine months of supervised release. Gov’t
     Sentencing Mem. at 2, 6, 11, Wang, ECF No. 114. Even accounting for acceptance of responsibility, the sentence
     that the PSR recommends for Mike is unreasonably inconsistent with the sentence that the government sought (and
     for the most part received) for Wang.



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2022); Plea Agreement, id., ECF No. 105 (Aug. 1, 2022); Gov’t Sentencing Memorandum at 1,

id., ECF No. 114 (Nov. 23, 2022); Judgment, id., ECF No. 125 (Dec. 8, 2022). Aleksandr Milrud

pled guilty to conspiring to commit securities fraud over the course of one year, including by

“orchestrat[ing]” a spoofing scheme, recruiting and managing other traders in furtherance of the

scheme along with his co-conspirators, and attempting to conceal the scheme by, for instance,

conducting manipulative trading across multiple accounts. Information ¶ 2, United States v.

Milrud, 15 CR 455, ECF No. 21 (D.N.J. Sept. 10, 2015); Judgment at 1, Id., ECF No. 45 (Apr. 24,

2020). Milrud conceded that he had gained between $1 million and $2.5 million, and that

enhancements for sophisticated means and his role as a supervisor or manager applied. Plea

Agreement at 8, Milrud, id., ECF No. 25 (Sept. 10, 2015). He was sentenced to five years’

probation and a $10,000 fine. Judgment at 2, 5, Id., ECF No. 45. A comparable sentence for

Mike—who played no part in overseeing, orchestrating, or recruiting traders to facilitate

manipulative trading—would be appropriate here.

       As compared with all of the defendants above, the government suggests that Mike stands

as one of the worst spoofers in history. But no matter how hard the government tries to paint that

picture, it’s not what the proof and verdict have shown. Just because the government seriously

overcharged this case does not mean that Mike deserves a longer sentence than that imposed on

similarly situated defendants.

       Indeed, the fact that he has been subjected to criminal prosecution at all puts Mike in a

small minority among traders accused of spoofing. Most individuals who have been charged for

spoofing—including within the same period in which Mike was alleged to have spoofed—have

faced civil enforcement, not criminal actions, resolved with monetary penalties and (typically

short-lived) trading bans. The accompanying chart identifies 23 traders who all were penalized by




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the CFTC for spoofing activity. Exhibit C to Declaration of David Meister. Though many engaged

in yearslong misconduct, most faced only civil monetary penalties and brief trading suspensions.

Only three were permanently barred from trading. None faced criminal charges.

       In undergoing the harrowing ordeals of his arrest, a lengthy and highly publicized criminal

prosecution, convictions of federal felonies, and a permanent bar on pursuing his livelihood, Mike

has already faced far more severe consequences than most other traders accused of spoofing. In

short, a custodial sentence for Mike would create unjustifiable similarities with others who are far

more culpable, whereas a noncustodial sentence would avoid unwarranted disparities with others

who are more similarly situated.

       4. Incarceration Is Not Necessary

       Incarceration is not necessary to afford just punishment, protect the public, or deter others

from future misconduct in these circumstances. The government concedes, as it must, that specific

deterrence is not an issue in this case. Gov’t Mem. at 36. No one would think that Mike presents a

danger of committing future crimes.

       As for general deterrence, the message necessary to deter spoofing has been sent and

received. The investigations across the industry, the settlements, the wide-ranging criminal

indictments, the pleas and convictions of Smith, Jordan, Trunz, Edmonds, and Corey Flaum, and

Mike’s own well publicized trial and conviction all have made clear that such conduct carries

serious consequences. We respectfully submit that it is simply not necessary to send Mike to jail

to deter the next trader from spoofing.

       Additionally, while there is no minimizing the severity of jail time, Mike has been

substantially punished already. The process of going through a protracted and high-profile

prosecution has caused considerable pain and anguish to him and his family. Mike was publicly

fired from the job he held his entire adult life. He will never again be able to work in his chosen


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                                      IV. CONCLUSION

       For all these reasons, we urge the Court to impose a noncustodial sentence, which we

submit is sufficient but not greater than necessary to meet the objectives of sentencing.


       Dated: April 10, 2023


                                                  Respectfully submitted,

                                                   /s/ David Meister
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